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                                                                Tuesday, 10 September, 2019 09:57:18 AM
                                                                             Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

XINGJIAN SUN,                                )
XING ZHAO, and                               )     Case No.: 2:19-cv-2242
AO WANG,                                     )
                                             )
      Plaintiffs,                            )
                                             )     JURY TRIAL DEMANDED
     v.                                      )
                                             )
GARY GANG XU,                                )
                                             )
     Defendant.                              )
                                             )

                                        COMPLAINT

          Plaintiffs XINGJIAN SUN, also known as Vina or Narcissa Sun (“Sun”), XING ZHAO,

also known as Ely Zhao (“Zhao”), and Professor AO WANG (“Wang”), by and through their

undersigned attorneys, hereby allege as follows:

                               NATURE OF THE ACTION

                Defendant Gang (“Gary”) Xu (“Xu”) was an associate professor at the University

of Illinois Urbana-Champaign (“UIUC”) from the early 2000s until he resigned in 2018. In 2012,

UIUC made Xu department head of the Department of East Asian Languages and Culture

(“EALC”).

                From the beginning of his career, and particularly after receiving the additional

pedigree of department head from UIUC, Xu abused his power and authority. He felt entitled to

take whatever he wanted from his young students, and he did. He raped multiple students, had

sexual relationships with many others, and tried to sexually exploit even more. He physically

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assaulted women. He played brutal mind games, pitting his students against each other and against

other professors, achieving pleasure out of the debris he left in his wake. He earned hundreds of

thousands of dollars off the work that his students did for him, while paying them nothing. He let

his teaching duties slide, showing up unprepared and distracted, quick to anger when anyone

questioned him. He caused many of his students to leave UIUC early, abandoning degree

programs and irrevocably changing their career paths, because his predatory conduct became

unbearable. He created an environment where his students, particularly the young Chinese women

who made up the majority of his students, were afraid to question, afraid to report, afraid to do

anything that might jeopardize their position with him. They believed, based on actions he took

with them and had taken with other students, that any questioning of Xu could lead to expulsion

from UIUC and from the United States, where they resided on student visas.

               The professors in the EALC department, too, could not stand up to Xu and the

power he wielded as department head. They saw young women coming into his office and the

door closing. They heard rumblings of his sexual exploits with students. They witnessed his

bullying, and, at times, were targets of it. They put up with it, not knowing what else to do.

               Sun entered into a sexual relationship with Xu, her professor, when she was 19 and

he was 45. She was new to the country, isolated, and so young. She was the perfect target for

him. Xu was a typical domestic abuser. He raised Sun up, only to throw her back down. He told

her he loved her and then threatened to leave her. He violently raped her, then told her it was

because he couldn’t help himself in the face of her beauty. He tried to pimp her out to Chinese

artists for commercial gain. He forced her to arrange a threesome for him with another student

while she was pregnant with his child. Hanging over the entire relationship was the huge power

imbalance between them. She was his student. He could fail her, drop her from his course. She


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could lose her F1 student visa status and be forced to leave the country if she displeased him. He

could beat her if she refused—he had before. Sun was so strung along by Xu that she would do

whatever he asked, even having an abortion performed against her will. The despair she felt over

the loss of her baby caused her to attempt suicide.

               On several occasions, Sun attempted to stop the cycle of violence and reported Xu’s

abuse to UIUC. As is typical of a victim of domestic violence, she dropped these reports shortly

after making them to protect her safety — Xu beat her and threatened to hurt her and her family if

she did not. UIUC took no meaningful action in response to these reports, allowing Xu continued

unsupervised access to all the young students under his tutelage, including Sun. After the

University gave him a letter telling him to have no contact with Sun, she was still allowed to enroll

in and take his classes, with no measures in place to prevent this. He flaunted their relationship

publicly, but the University did nothing. Even as he began to sexually violate yet another UIUC

student, Xu’s relationship with Sun continued.

               Finally, in the fall of 2015, an incident occurred that UIUC could no longer ignore.

Xu’s volatile temper flared again, with Sun as his target. As Xu began to advance on Sun, she fled

her apartment to escape him. She ran down public streets while Xu chased her in his car,

attempting to hit her, until she arrived at the Champaign Public Library. There was a public scene,

with many witnesses, and the police were called. Sun told the police about their abusive

relationship—his physical assaults, his rapes. Her school advisor was present. This time, UIUC

had to take notice. Sun, through a private attorney, filed a restraining order against Xu. Their two-

year abusive relationship was, at last, over.

               Over the course of the entire 2015-2016 school year, the school prepared a report

based on its ensuing investigation of Xu. It concluded that there was an inappropriate sexual


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relationship between Xu and Sun, and recommended appropriate employment action against him. 1

Nonetheless, for two more years—three years from the incident at the library—Xu was allowed to

continue as a professor at UIUC, receiving full pay, until he was allowed to resign in August 2018

shortly after his misconduct received attention in Chinese news websites. He even received a

$10,000 departure bonus. During this time, he continued to hold himself out as a UIUC professor

and department head, giving him unfettered access to impressionable young students, and

continued to perform duties at the University.

                Zhao was one of Xu’s students from 2013 to 2015. Before she even enrolled at

UIUC, Xu wielded his title and authority at UIUC to require her to do countless hours of work for

him. She was not compensated or recognized for it, although it made Xu a hefty profit.

                Xu attempted to sexually conquer Zhao. He sexually harassed her on numerous

occasions and grabbed her and attempted to forcibly kiss her on another. He physically intimidated

her—an intimidation made much more real after Zhao witnessed his physical assault of another

young woman in her direct presence. He barricaded Zhao in his office and locked her in his car.

When it became clear that Zhao would not entertain Xu sexually, he began to humiliate her—at

first publicly in class, and then privately by suddenly refusing to be her advisor. Zhao ultimately

left UIUC early, without her Ph.D., unable to face Xu any longer.

                Professor Wang knew of Xu by his poor reputation through academic circles, and

was friends with a woman (not Sun) who told Wang that Xu attempted to rape her. He was

appalled that UIUC allowed Xu to wear the cloak of professorship for years after his confirmed

sexual and physical assault of a student. He knew that Xu was a sexual predator who would


1
  Kaamilyah Abdullah-Span, UIUC Investigative Report on Xingjian Sun and Gary Xu (Aug. 17, 2016) (on file with
the UIUC Office of Diversity, Equity, and Access).


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continue to harass and assault his students. He was concerned that Xu would be able to secure a

new teaching job and continue the cycle at a new university. To prevent him from doing so, Wang

posted an article online outlining Xu’s history of sexual abuse and assault. The post soon garnered

dozens of responses, many of them from Xu’s victims.

               Xu was furious with Wang. He launched a counterattack, attempting to undermine

Wang’s professional reputation. Xu, personally and through his network of associates, threatened

to kill Wang. He threatened to, and eventually did, launch a costly and baseless legal action against

Wang in China. Wang’s health suffered from the stress, causing him to be admitted to the

emergency room with heart palpitations.

               Plaintiffs bring this civil action under the federal Trafficking Victims Protection

Act (TVPA), 18 U.S.C. §§ 1589, 1590, 1591, and 1595; the Illinois Gender Violence Act, 740

ILCS § 82/5; the Illinois Trafficking Victims Protection Act, 740 ILCS § 128/15; and the torts of

intentional and negligent infliction of emotional distress. Plaintiffs seek redress for Defendant’s

sexual, physical, emotional, and professional abuse in an amount to be determined at trial.

                              JURISDICTION AND VENUE

               This Court has subject matter jurisdiction over this matter as to claims arising under

federal law based on 28 U.S.C. § 1331. This Court further has jurisdiction over the sex and labor

trafficking claims pursuant to 18 U.S.C. § 1589 et seq.

               This Court has supplemental jurisdiction over the related state law claims under 28

U.S.C. § 1367. Supplemental jurisdiction over those claims exists because they arise from the

same common nucleus of operative facts from which the federal claims arise.




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                 The Court further has jurisdiction pursuant to 28 U.S.C. § 1332 because the value

of this case exceeds $75,000 and there is complete diversity between the parties, with plaintiffs

residing in California, New York, and New Hampshire, and with defendant residing in Illinois.

                 Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Xu resides

in this district, and a substantial part of the events giving rise to these claims occurred in this

district.

                                                  PARTIES

    A. Defendant Gary Xu

                 Defendant Gary Xu is an individual who currently resides at 4700 Horse Creek

Drive, Champaign, Illinois. Xu arrived at UIUC in 2002 under a curriculum development grant.

In 2006, Xu was made a tenured Associate Professor in the College of Liberal Arts and Sciences,

the Center for East Asian and Pacific Studies and the Center for Global Studies at UIUC. 2 In 2012,

Xu was made head of the EALC Department 3—a position he held until 2015.

                 In September 2016, as a result of the facts and conclusions contained in a report by

the University’s Office of Diversity, Equity and Access (“ODEA”) following an extensive

investigation into Xu after his assaults on Sun, the EALC department “lost confidence and trust in

Professor Xu’s ability to carry out his duties as a faculty member,” and recommended that he




2
  See University of Illinois Board of Trustees, Promotions Recommended to be Effective at the Beginning of the
2006-07 Academic Year, BOARD OF TRUSTEES (Jul. 13, 2006),
http://www.trustees.uillinois.edu/trustees/agenda/July-13-2006-Approved-and-Reported/a008-jul-promotions-and-
tenure-att.pdf.
3
 See University of Illinois Board of Trustees, Appointments to the Faculty, Administrative/Professional Staff, and
Intercollegiate Athletic Staff, BOARD OF TRUSTEES (May 31, 2012),
http://www.trustees.uillinois.edu/trustees/agenda/May-31-2012/006-may-appointments.pdf.



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resign or that the University terminate him. 4 As part of a settlement negotiated with the University,

however, Xu remained a member of the faculty through August 2018, when he was allowed to

resign with a $10,000 separation bonus. 5 Through the date of his resignation, he was paid in full

by UIUC, including health benefits. 6

                    From 2015 through 2018, Xu continued to hold himself out as a professor at UIUC

and/or EALC department head. While cloaked in this authority, he held various teaching positions,

including at the Sichuan Fine Arts Institute 7 and Stockholm University, 8 where he was put in close

contact with other young students.


          B. Plaintiff Xingjian Sun

                    Plaintiff Xingjian Sun is a Chinese citizen currently residing in New York under an

F1 student visa.

                    Sun enrolled at UIUC in the fall of 2012. She received a bachelor’s degree in Media

and Cinema Studies from the University of Illinois in May 2016. From the fall of 2013 through

the fall of 2015, from the ages of 19 to 21, Sun was in a sexual and abusive relationship with Xu,

her professor who was 26 years her senior.



4
  See Separation Agreement between Gary Xu and the University of Illinois (Jun. 15, 2017) (on file with the UIUC
Office of Diversity, Equity, and Access); Letter from Robert Tierney, Head of the EALC Department, UIUC, and
Jean-Philippe Mathy, Director of the School of Literatures, Cultures, and Linguistics, UIUC, to Kaamilyah
Abdullah-Span, Assistant Director of the Office of Diversity, Equity and Access, UIUC (Sep. 29, 2016) (on file with
the UIUC Office of Diversity, Equity, and Access).
5
    Separation Agreement between Gary Xu and the University of Illinois, supra note 4.
6
    Id.
7
 Shenzhen Biennale Fires Curator Gary Xu over Allegations of Sexual Harassment, ARTFORUM (Mar. 16, 2018,
2:15 PM), https://www.artforum.com/news/shenzhen-biennale-fires-curator-gary-xu-over-allegations-of-sexual-
harassment-74641.
8
 Monday Lecture: Translating the Visual: the Problems of Tradition in Contemporary Art, STOCKHOLMS
UNIVERSITET (May 15, 2017), https://www.su.se/asia/om-oss/evenemang/monday-lecture-translating-the-visual-the-
problems-of-tradition-in-contemporary-chinese-art-1.331888.


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    C. Plaintiff Xing Zhao

                 Plaintiff Xing Zhao is a Chinese citizen currently residing in California under an

F1 student visa. Zhao enrolled at UIUC in the fall of 2013 as a Ph.D. student in the EALC

department. Xu was her advisor from the fall of 2013 until she left with a Master’s degree in the

spring of 2015. In the role of her prospective and actual advisor, he required Zhao to perform

hundreds of hours of free labor for him, for which Xu received monetary and reputational benefit.


    D. Plaintiff Ao Wang

                 Plaintiff Ao Wang is a renowned Chinese poet and an Associate Professor of East

Asian Studies at Wesleyan University in Middletown, Connecticut. He had numerous interactions

with Xu directly and through Xu’s associates arising from Xu’s sexual assault of plaintiff Sun and

others. Xu threatened Wang’s life and professional standing, directly affecting his reputation and

his health. He currently resides in New Hampshire.

                                    STATEMENT OF FACTS

    A. Xu’s Early Ventures in Sexually and Emotionally Exploiting Students

        a. Xu’s Early Sexual Exploitation and Rape of Women at UIUC

                 Xu arrived at UIUC in 2002. It was well-known in the tight-knit academic circle

of East Asian Art and Literature that he was a womanizer. Despite being married, Xu had carried

on a public affair with another student in his Ph.D. program at Columbia University, who became

pregnant with his child. Xu demanded that she obtain an abortion. The abortion was against her

wishes and moral views, but at Xu’s insistence she eventually agreed. 9



9
  Michelle Yeh, Witness Statement of Michelle Yeh, para. 3 (Sep. 3, 2019); Ao Wang, Witness Statement of Ao
Wang, para. 5 (Sep. 3, 2019).


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                    Xu became an associate professor at UIUC in 2006, and capitalized on the added

power and gravitas that came with the title. He developed a reputation for cultivating beautiful

young Chinese and Taiwanese students as his “mentees” and advisees. These women became

widely known within and outside of UIUC as “Gary Xu’s Beauty Corps” due to their youth,

physical attractiveness, and devotion to their professor. 10 Xu “seemed to revel in the unusual

attentiveness with which his young students obeyed his orders and followed him around

campus.” 11 The optics of it were so obvious and off-putting that others commented that Xu was

“a wolf leading a pack of sheep.” 12

                    These optics were accurate: Xu required that his advisees demonstrate both beauty

and loyalty.        As Xu bragged in front of his student, Zhao, and a table full of artists and

professionals: “You know, you have to be good-looking in order to be my student. That’s the

bottom line.” 13

                    Xu wanted beautiful women as his students because he wanted to exploit them for

his own purposes, including having sex with them at his will. One woman who applied to study

at UIUC under Xu, for example, met with him at his hotel room in Beijing. She found the choice

of location odd, but not wanting to hurt her chances of admission, agreed to this request.

                    Once she arrived, Xu aggressively came on to the prospective student sexually. He

told her that she was “special” because she would “look him in the eyes” when speaking to him,

while “most girls,” apparently awed by him, “wouldn’t look at [him] because they are too shy.”



10
     Xing Zhao, Witness Statement of Xing Zhao, para. 4 (Aug. 20, 2019).
11
     Ao Wang, supra note 9.
12
     Id.
13
     Zhao, supra note 10, para. 23.


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As he moved in closer to her, he boasted—apparently to impress her—that he had had sex with 20

young women in China, before he went to the United States. Now positioned by her side, Xu

suddenly threw his arms around her, then tried to bring her down to the ground so that he could

penetrate her. There was no overture, and no indication whatsoever of consent on the woman’s

part, who was there only to discuss her potential admission to UIUC. The woman reported that

she succeeded in pushing Xu off of her, then fled from the room and his attempted rape.

                     Rumors of Xu’s sexual relationships with students abounded in the period before

he became department head. In 2011, Xu wrote a cryptic Facebook post saying “Little rumors are

okay—they cannot hurt. But when you talk about someone’s family, people will get hurt.” 14

Immediately after posting it, he unfriended one of his students, Huanglan Su, who was also close

to Xu’s wife. As recounted by one of his former students, Mei Wang, “Many students witnessed

this outburst on social media. We had noticed that Xu had developed a very close relationship

with one of his students at the time, which would have made his wife unhappy. It is my

understanding that Su told Xu’s wife that Xu was having an inappropriate relationship with one of

his female students, and this is what prompted the cryptic post and subsequent unfriending.” 15


            b. Xu Uses His Authority to Demand Work and Loyalty from Students

                     Xu abused his authority as a UIUC professor in other ways. Tonglu Li, who

received his Ph.D. in 2009, described Xu as taking advantage of his and other Chinese students’

vulnerability and precarious status in the United States, which depended upon student visas. Xu

required Li, and others, to translate numerous texts for Xu’s personal use in a book called The


14
     Mei Wang, Witness Statement of Mei Wang, para. 14 (Sep. 2, 2019).
15
     Id. para. 15.



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Cross-Cultural Zizek Reader. Despite spending over 40 hours on this project, Li received no

course credit, recognition, or payment for this work—contrary to academic practice. 16


            c. Xu’s Inappropriate and Unprofessional Behavior as a Professor

                    Xu behaved in “odd” and “inappropriate ways” beyond abusing his students’ visa

status for his own personal gain. 17 On at least one occasion, Xu got visibly intoxicated in front of

his students. While drunk, he insisted on wrestling with one of his advisees, much to the

discomfort of all students present. 18

                    In a 2010 class, Xu engaged in arguments with his students that were so heated,

usually over arcane topics, that the students would turn to each other in shock and ask if this

behavior was “normal.” 19

                    Even setting aside the overtly inappropriate behavior, Xu was a brazenly

underprepared, unknowledgeable professor.                   Students from the time described him as
                    20                   21                                 22                          23
“unprepared,”            unresponsive,        “totally full of himself,”         a “posturing idiot,”        and

untrustworthy. 24




16
     Tonglu Li, Witness Statement of Tonglu Li (Sep. 3, 2019).
17
     Mark Frank, Witness Statement of Mark Frank, para. 3 (Sep. 6, 2019).
18
     Id. para. 4.
19
     Id. para. 3.
20
     See Gang (Gary) Xu, RATE MY PROFESSORS, https://www ratemyprofessors.com/ShowRatings.jsp?tid=396563.
21
     Id.
22
     Id.
23
     Id.
24
     Id.



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                     Despite Xu’s lackluster teaching skills, students—particularly his advisees—were

compelled to take classes from him. Xu demanded intense loyalty from his students that was out

of place in academia and in professional relationships more generally. 25 His levers to obtain it

were crude: power over students’ financial aid, grades and even ability to graduate, 26 and he used

them to make sure he maintained a court of pliant acolytes. For instance, Xu told one of his

students—Mark Frank—not to bother applying to receive department travel funding, implying that

he had displeased Xu. Frank knew the score; he enrolled in the next class Xu offered.


       B. Xu Becomes EALC Department Head and His Abuse Become Even More Brazen

                     Despite Xu’s well-known inappropriate behavior towards women, his overweening

demands for loyalty, exploitation of his students’ work, poor performance as a professor and poor

reputation outside of UIUC, 27 the University of Illinois Board of Trustees made Xu head of the

EALC department in 2012. 28 With his promotion came even more power—a power that he crowed

about to his students and other professors and used to step up his harassment and abuse of students.

                     His students felt they had to go along with Xu’s increasingly onerous and harmful

demands; their ability to stay in the school and even the country depended on it. As one former

student, Mei Wang, described: “For most Chinese students, the more time we spend in the States,



25
     See Frank, supra note 17, para. 6 (“Xu thrived on being powerful, and insisted on the loyalty of his students.”).
26
   Id. para. 7 (“[E]ven though I found Xu’s classes to be uncomfortable, I felt that I needed to take his spring course
if I were going to be considered for the Ph.D. program at UIUC in 2014. Otherwise, he might deem me to be
‘disloyal’ and impact my future prospects.”).
27
  Interview with Shao Dan, Associate Professor, University of Illinois at Urbana-Champaign (May 26, 2018)
(describing how, at a conference shortly after Xu became department head, another female professor questioned why
the department would have made Xu head). See generally Jing Cai, Witness Statement of Jing Cai, para. 3 (Sep. 3,
2019). (stating that, prior to her admission in 2014, she had been told of rumors that Xu “often pursued sexual
relationships with his female students” and “as long as a student is a woman, [Xu] will want to fuck her.”).
28
     University of Illinois Board of Trustees, supra note 3.



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the more invested we become in obtaining our degrees. Failure to graduate can also result in

students losing their visa status, and having to leave the States all together. Because of this, we

feel deeply that we need to please our Chinese professors, the people who have such intense and

complete power over our lives.” 29


               a. Xu’s Rape and Exploitation of Xingjian Sun 30

                    i.   Xu begins a sexual relationship with his 19-year-old student, Sun

                      Sun moved from China to the United States in 2012, when she was 18 years old, to

study as an undergraduate at UIUC on a student visa. The spring of her freshman year, 2013, she

met Xu. Xu had recently been made head of the EALC department, and Sun asked him to be her

instructor for an independent study course in the fall. He agreed.

                      That fall, Sun started her course with Xu. Almost immediately, Xu began making

sexual overtures. At their third meeting, Xu told Sun that he would have “fallen in love” 31 with

her if he were twenty years younger—he was 45 to her 19.

                      On September 11, 2013, Xu kissed Sun for the first time behind the closed door of

his office at UIUC, obviously taking advantage of his role as instructor.

                      The next time Xu was scheduled to meet Sun for independent study, Xu took Sun

to his home, which he shared with his wife and two children. Xu asked Sun if she was a virgin.

Having been in a serious relationship once before, she was not. He then led her to his marital

bedroom, where he demanded sex with her. He used a condom, saying that she might be “dirty.”32


29
     Mei Wang, supra note 14, para. 3.
30
  All information in this section comes from the Witness Statement of Xingjian Sun, infra note 31, or from
interviews with Xingjian Sun, unless otherwise noted.
31
     Xingjian Sun, Witness Statement of Xingjian Sun, para. 6 (Aug. 26, 2019).
32
     Id. para. 8.


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Sun was not asked if she wanted to have sex with her professor, nor was there any pretense of

pleasure in it for her. The push for sex was all from him and about him.

                        That set the stage for future encounters. From this point forward, Xu would

generally have sex with Sun several times a week, always at his initiative and insistence. There

was no give and take, no effort by Xu to have Sun experience any pleasure. Immediately upon

withdrawing from her, he would say to her, “Little girl, you’ve done a good job.” 33


                     ii.   Xu begins a cycle of violence with Sun

                        Sun was only 19 years old when she and Xu became sexually involved. She was

an ocean away from her family, friends, and country. She was isolated and naïve. She thought

she loved him. But their relationship was tumultuous. Xu always required that Sun keep it secret.

This isolated her even further, as she could not talk to her friends or family about this central aspect

of her life. She became increasingly dependent on him, and correspondingly worried about

angering him, even as he became more abusive.

                        Xu insulted Sun frequently and vindictively. He often called her a “bitch” and

“disgraceful.” 34 He mocked her English, despite her fluency. He called her “nothing.” 35 He told

her that her parents would “detest” her for having had sex with a married man. 36 He belittled her

father, maligning his job, his accomplishments, and his manhood. His degradation of her and her

family was meant to make him feel more powerful, and her small. It was meant to further isolate




33
     Xingjian Sun, supra note 31, para. 9.
34
     Id. para. 3.
35
     Id. para. 11.
36
     Id. para. 10.


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her, driving her away from what few support systems she had. He wanted to be able to bend her

to his will. He succeeded.

                        In November 2013, Xu was physically violent with Sun for the first time. He asked

her to go into detail about her past relationships, and she spoke to him about her ex-boyfriend. He

became enraged. He shouted at her and pushed her against the wall, calling her a “slut” and a

“whore.” 37 He said that she was easy, and “already used.” 38 He threatened to break off with her,

declaring they needed to “cool down.” 39


                     iii.   Sun’s first suicide attempt

                        Sun was devastated. She had believed Xu’s earlier promises that he would leave

his wife for her and considered their relationship the “real thing.” 40 She believed Xu’s words about

her—that she was trash, used. She fell into a deep depression. On November 14, 2013, Sun slit

her wrists. Her roommate found her in a pool of blood. Sun had written a suicide note: “I just

want someone to love me.” 41 The police records and hospital reports associated with the incident

note that Sun’s suicide attempt was the result of her breakup. 42

                        Xu came to the hospital to visit Sun during her recovery, and picked her up when

she was discharged. While there, though, he did not comfort her, but instead further asserted

himself and berated her. He was livid, frantic that her suicide attempt would make him look bad

in front of his colleagues and bosses. With Sun sufficiently cowed, he went into damage control



37
     Xingjian Sun, supra note 31, para. 10.
38
     Id. para. 14.
39
     Id.
40
     Id. para. 11.
41
     Id. Attachment A.
42
     Abdullah-Span, supra note 1, Exhibit P; id. Exhibit Q.

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mode. He knew that the school would be told that Sun had attempted suicide and why, which

would hurt his standing and career. To put a lid on the incident, he insisted that Sun not complete

the eight therapy sessions at UIUC that she was expected to do. This insistence was in complete

contravention of Sun’s precarious mental health, but he did not care, telling her it was better that

she die than embarrass him. Sun did not want to anger him again, so she agreed to discontinue her

therapy. No one from UIUC followed up with her as to why she abruptly stopped, or to see whether

she was safe.


                 iv.     Xu forcibly rapes Sun for the first time

                    Shortly after her discharge, Xu raped Sun for the first time. In a direct echo of Xu’s

assault of previous victims (see paragraph 28 above), Xu showed up unexpectedly at Sun’s door.

Immediately after entering her apartment, he grasped her in his arms and forced her into the

bedroom. There he pushed her against the wall and rammed his tongue into her mouth. Sun was

only weeks out from attempting suicide, and was not in the right mental space to have sex with

him. She told him to stop. He did not. He ripped her clothes off her body and threw her onto the

bed. He pulled his penis from his pants and entered her, abruptly and painfully. She told him

again to stop, but he continued. He was angry, tearing into her when she was not ready. He said

that he owned her, that she was his slave. Sun lay in shock, tears streaming, as he entered her

again and again.

                    After Xu took his pleasure from Sun, he acted like a different person. He told Sun

he loved her, and that he had been so worried about her. He told her he wanted a “clean slate.” 43

He wanted to keep her silent.


43
     Xingjian Sun, supra note 31, para. 18.


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                     v.   Xu insists on Sun arranging a threesome while she is carrying his child

                       Sun and Xu’s relationship resumed its typical cycle, with Xu raising Sun up only

to crash her back down. He would oscillate between being kind and doting, telling her that he

loved “every moves [sic]” she made, 44 and vicious cruelty. He told her that he wanted to provide

for her financially, including pay her rent. 45 He sent her cash “gifts,” 46 with the unstated quid pro

quo that she would sexually service him whenever he chose.

                       In early 2014, Sun became pregnant with Xu’s child. She wanted desperately to

keep the baby, but Xu could not abide it. He had his reputation to protect, and having a baby out

of wedlock with a young co-ed was not in his plans. He told Sun that if she kept the baby, he

would never see her again. He said that she would be reviled and hated by everyone because the

baby would prove that she was a slut. He said he would deny he was the father, and everyone

would believe him over her. He said, menacingly, that if she had the baby, she would not be on

his side. 47 Despite it going against her deeply held beliefs, she reluctantly agreed to terminate the

pregnancy. She felt she had no other choice.

                       In the period before the abortion, despite Sun carrying his child and her fragile

emotional state, Xu reignited his obsession with having a threesome. He told Sun that she needed

to find another student to satisfy his sexual desires. Sun had never expressed any interest in a

threesome, and certainly had no interest in it while contemplating aborting Xu’s child. However,

Sun knew what Xu was capable of. Not wanting him to hurt her, she agreed to find someone.



44
     Xingjian Sun, supra note 31, Attachment B.
45
     Id. Attachment C.
46
     Id. Attachment D.
47
     Id. para. 21.



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                      Sun found another undergraduate student named Yibing Pu, also from China. Pu

and Sun were friends, and Pu knew about Sun’s relationship with Xu. 48 Although Pu did not want

to have a threesome, she was worried for her friend, and agreed to join Xu and Sun to see the

movie The Grand Budapest Hotel, and afterwards join them for a meal at a restaurant, Radio

Maria. 49 Pu picked up on Xu’s arousal as soon as they entered the theater. Pu said: “When we sat

down in the theater, Xu ensured that he was between Sun and me. The seating felt deliberate to

me. I sensed that he was sexually aroused by placing himself between us.” 50

                      Any doubt about Xu’s intentions disappeared when they went to Radio Maria.

Again, Xu placed himself between Sun and Pu. He spent much of the meal boasting about himself

and his importance in the field of Chinese art, and complimenting Pu on her appearance. 51 When

the meal ended, Xu propositioned Pu to have a threesome with him and Sun. 52 Pu declined. 53

                      Sun had hoped that this would be the end of Xu’s quest to fulfill his fantasy of

having a threesome with two UIUC undergraduates. But he persisted, despite Sun’s pregnancy.

Again and again, he pestered Sun to text or call Pu to arrange a threesome. 54 Again and again, Pu

declined. But soon, Xu saw his opening.

                      On March 22, 2014—just five days before Xu scheduled Sun for an abortion,

without her knowledge—Pu was the driver at fault in a car accident. Xu used her accident as a



48
     Yibing Pu, Witness Statement of Yibing Pu, para. 4 (Aug. 21, 2019).
49
     Id. paras. 6, 7, 9.
50
     Id. para. 8.
51
     Id. para. 9.
52
     Id. para 10.
53
     Id.
54
     Id. para. 11; Xingjian Sun, supra note 31, para 23.



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leverage moment. He told Sun to tell Pu that he would help her find a private attorney. 55 Pu

explained: “Xu’s immediate offer of help seemed extremely odd, as he had only met me once and

did not know me well. I was suspicious that his unexpected generosity was yet another attempt to

coax me into a threesome but—with no one else on whom to call for help—I accepted his

assistance.” 56 Her suspicions were well-founded. Sun recounted: “He wanted Pu to be in a

position where she was financially indebted to him, and felt that she could not refuse his request

for a threesome.” 57 Xu even accompanied Pu and Sun to the campus legal services office. 58

Luckily for Pu, the University’s lawyers were able to help her with the ensuing case in traffic court,

and she did not need to hire a private attorney or accept Xu’s financial assistance. Pu explained:

“I was glad not to take Xu’s money, as I understood it to be offered in exchange for a threesome.”59

                     Pu was not Xu’s only potential target for a threesome. Xu also asked Sun’s

roommate, Mingyang Xi, to have a threesome with him and Sun. She also refused.

                     On March 24, 2014, Xu drove Sun to the Women’s Health Practice to have her

abortion. Xu did not tell Sun ahead of time where they were going. He handed Sun $400 in cash,

telling her to put the charge on her own credit card so that it could not be traced back to him. Sun

desperately did not want to have the abortion, but she saw no way out: She could not support the

child on her own, and Xu had threatened to force her out of school and the country if she did not

acquiesce. Seeing no choice, she did as Xu demanded.



55
     Pu, supra note 48, para. 12; Xingjian Sun, supra note 31, para 23.
56
     Pu, supra note 48, para. 12.
57
     Xingjian Sun, supra note 31, para. 23.
58
     Id.; Pu, supra note 48, para. 12.
59
     Pu, supra note 48, para. 12.



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                 vi.     Sun’s second suicide attempt

                    Sun’s remorse over the abortion was intense. Xu made her mounting depression

worse, telling her that the baby did not “count” as a child because it was just a “bundle of cells.” 60

Days afterwards, on March 27, 2014, Sun attempted suicide by overdosing on Xanax. Again, her

roommate, Xi, found her. This time, Xi called Xu, who drove her to the hospital.

                    Xu was furious with Sun, because he was concerned for himself—that he would be

found out and his reputation suffer. On the way to the hospital, while she was unconscious from

her overdose, he beat her savagely. By the time they arrived at the hospital, the police report noted,

“Staff noticed bruising and suspected professor who was with her” of inflicting the injuries. 61

                    While Sun was in recovery, Xu came to the hospital, where he abused her for

threatening his reputation at UIUC. He promised to kill her and her parents if she told anyone

about their relationship. Sun believed him. The bruises still marking her body confirmed her

fears. In an abrupt about-face, on his last visit, Xu was all warmth and love. With Sun in his arms,

he told her that he forgave her, and that he would let her continue to be with him if she agreed to

be silent. She gratefully, tearfully agreed. Xu drove her home.


                 vii.    Sun’s first report to UIUC

                    Not long after her discharge, Sun was raped by another student at an off-campus

get-together. Sun was frantic and devastated. She sought comfort from the person she believed

to be the love of her life. Xu, rather than helping Sun through her trauma, flew into a deep rage.

He shoved Sun. He slammed her face into a wall. He kicked her. He kicked the walls around her.



60
     Xingjian Sun, supra note 37, para. 26.
61
     Id. para. 26, Attachment F.


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He yelled at her, calling her demeaning names. He called her mother demeaning names. He

blamed her for being raped, said she must have been asking for it, must have wanted it. Then,

worried that the neighbors might have heard the commotion, he fled.

                    Sun fell into a tailspin. She loved and trusted Xu. If he thought she was worthless,

used, an easy woman—maybe it was true. She called him to apologize for being raped. He hung

up on her, telling her that he no longer wanted her. She was used and “dirty.” 62 She was of no

further use.

                    Xu stopped picking up his phone. He did not answer emails. Sun grew increasingly

upset. In the early hours of April 25, 2014, Sun went to Xu’s house to confront him. Xu called

the police. When they arrived, Sun told the police that she and Xu were in a sexual relationship,

which Xu denied. At Xu’s prodding, the police arrested Sun for disorderly conduct.

                    After being released the same morning, on April 25, 2014, Sun called her advisor,

UIUC Professor Julian Parrott, and the ODEA to make a Title IX report.

                    Not yet knowing that Sun had reported him to the school, Xu called Sun to berate

her again for being so careless as to be raped, and for having shown up at his house, risking

exposing him. Over the phone, Sun told him that she had made a Title IX report.

                    Xu immediately changed his tune. He pressured Sun to drop the report. He begged

her, telling her that he loved her, that he was going to leave his wife for her and that he would be

good to her in the future. Sun was still so manipulated by him that she believed him. In an email

dated April 28, 2014, Sun wrote to Parrott that she wanted to take the report back. By way of

explanation, she wrote: “I am sure you can understand more how hard it is to get to a position [like


62
     Xingjian Sun, supra note 31, para. 28.



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professor and Chair of EALC] today. It was an effort of twenty years. I will not be the one to

screw everything. I loved, and love him.” 63

                     The school was happy to brush the matter under the rug. “You must do what you

think is right for you,” Parrott wrote in response. 64 When Sun emailed the ODEA a few weeks

later formally withdrawing the report because the relationship was “consensual,” 65 that was the

end of the school’s apparent involvement. Xu was allowed to continue to have unfettered access

to Sun and to other vulnerable students.


                 viii.   Xu’s beating and rape of Sun in China

                     In summer 2014, Xu travelled to Shanghai, China to curate an art exhibit. Xu

invited Sun to join him there, so they could “spend time together.” 66 Sun knew this was a

euphemism, and that her main purpose there would be sexually servicing him. To induce her, Xu

told Sun that he would introduce her to several friends who were influencers in the Chinese art

world. He also promised that if she came with him, he might divorce his wife and marry her

instead. She agreed and joined him at the Marriott Hotel in Shanghai.

                     Xu often left Sun alone in their hotel room to meet up with his artist friends to drink

and do drugs. He intimated that prostitutes would be present at these parties. Sun was upset. She

thought that this was the trip where she would finally be brought out as his partner, not left in a

hotel room while he had sex with prostitutes. When Xu finally returned, drunk and stoned, he told

Sun that he had told his companions about her—how young and sexy she was, how nubile. He



63
     Xingjian Sun, supra note 31, Attachment I.
64
     Id.
65
     Id. Attachment J.
66
     Id. para. 32.


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told her that after his description of her to his friends, all of them wanted to have sex with her, and

that he thought she should. Sun was shocked and angry. She thought Xu was in love with her, as

she was with him. She did not understand why he would want to pimp her out to these men—men

who, except for the artist Zhengang Tong (“Tong”), she had never even met.

                    Xu told her, condescendingly, that these men were famous, well-respected artists.

He wanted to impress them. He wanted them to think of the pleasure they achieved with Sun and

associate that with Xu and his “generosity” in letting them have sex with her. 67 He particularly

wanted Sun to have sex with Zhang, an artist he described as “next level,” 68 whom he told Sun she

should be honored to “serve.” 69 He tried to convince Sun that having sex with these men would

be in her interest as well as his—it would advance her career and allow her to make valuable

professional connections. In reality, Xu had no regard for Sun’s safety or well-being. His goal

was for Sun to debase herself to enhance himself, to make her into a slave that he could “gift” 70 to

bolster his reputation in the Chinese art world and at UIUC.

                    Sun saw through Xu’s proposition. Angry and hurt, she ripped Xu’s passport—

although not so badly that he was unable to travel with it. Xu flew into a bitter rage. Crossing the

room quickly, he closed in on Sun and punched her, hard, in the face. She fell in a pile to the floor.

As she struggled to stand, he punched her again. Then a third time. While Sun lay huddled on the

floor, he kicked her in the stomach so hard she threw up blood. As Sun staggered again to her feet,

Xu held her up as if to help her, then pushed her down to her knees, injuring her legs. By the end



67
     Xingjian Sun, supra note 31, para. 33.
68
     Id.
69
     Id.
70
     Id.


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of his assault on her, her eyes were full of blood. She could barely walk for several days afterwards

or even recognize herself in the mirror. The beating was so vicious that Xu injured his right hand,

requiring him to wear a bandage (Figure 1). His anger satiated, Xu left Sun alone on the floor,

bleeding into her own vomit.




Figure 1. Xu (right) with Tong at the opening of Tong’s solo exhibition at Long Museum, West
Bund, Shanghai, Summer 2014. 71

                    Sun knew she needed help. Despite the pain, she managed to pick herself up off

the floor and take the elevator down to the hotel lobby. The hotel workers rushed to call the police,

who took her to receive urgent care at the hospital.

                    After Sun was discharged, she returned to the hotel. She had no other options—

she could not afford a hotel room on her own, and she was too embarrassed to return to her family

in a nearby province with her injuries so obvious and acute. Xu was still at the hotel, needing to

stay there for his upcoming art exhibition.




71
     Xingjian Sun, supra note 31, Attachment L.


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                   While Sun was still in acute pain from Xu’s beating and unable to move freely, he

raped her for a second time. Through her swollen mouth, Sun tried to tell Xu to stop. Xu did not.

Because Sun could not move easily, he manipulated her battered body so that he could penetrate

her to achieve his pleasure. The pain was excruciating. Sun could not stop crying. Her eyes were

so swollen from his beating and from crying that she could barely see him (Figure 2). Even through

her pained cries, he continued to brutally ram himself into her until he ejaculated.




                          Figure 2. Sun’s eye after Xu’s beating, Summer 2014. 72

                   After Xu raped Sun, he returned to the United States and cut off all contact with

her. He showed no remorse or concern for her.


                 ix.    Xu obtains Sun’s visa for her and requires her to come back to the States

                   Because of the police report Xu made against her in April 2014, Sun’s visa went

under review, delaying her return to the United States. She could not make progress on her visa




72
     Xingjian Sun, supra note 31, Attachment M.

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until receiving a copy of her arrest record after Xu had her arrested, but the police department was

unable to Federal Express the record to her abroad for bureaucratic reasons. She was stuck in

China with no obvious way out, and with two of her four years of undergraduate education

remaining. Xu was not answering her calls. She thought her situation was hopeless.

                    Unsure what to do next, she posted two photographs of herself taken after Xu’s

attack in Shanghai as a Direct Message to UIUC’s official account on the Chinese social media

site, Weibo. Upon receiving the photos, the account administrators reported the photos to UIUC

and contacted her advisor, Julian Parrott.

                    During this time, Sun believed she had no way of returning to the United States,

and she wanted time away from Xu, hoping to recover from his physical and psychological attacks.

As a result, Sun worked directly with Sondra Schreiber in UIUC’s International Student and

Scholars Association to cancel her visa. At Sun’s request, UIUC officially terminated Sun’s F-1

status for “Authorized Early Withdrawal,” which also invalidated her I-20. 73 Sun then contacted

Trent Nelson, an academic advisor in her department, requesting a leave of absence because she

would not be able to make it back to UIUC before classes began due to her visa issues.

                    Xu learned about Sun’s actions in China and got scared. He realized that Sun could

be a liability for him in China where he could not keep an eye on her. He was afraid she would

pursue a more visible social media campaign against him, or otherwise make their relationship

known. Xu called Sun and told her she needed to return to campus. He said that if she did not go

back, if he lost control of her, he would do everything he could to hurt Sun’s reputation in China.

He said that she would never graduate and that he would make certain that she would never be



73
     Interview with Xingjian Sun (Aug. 6, 2019).


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able to return to America again. She believed him. Once again, he figured out a way to thwart her

attempts to get away from him. And so she allowed Xu to take control of her visa process.

                   Xu coordinated directly with the International Scholar and Students’ Association

to reinstate Sun’s invalid I-20. He also coordinated with the police department to receive a copy

of her police report, which was required to reinstate her visa status. 74 If it were not for Xu’s efforts,

she would not have been able to return to UIUC that fall. On Xu’s demand, she returned to campus

in September 2014, having missed several weeks of classes. Her late return was against the

recommendation of her advisor, Julian Parrott, who was concerned that missing two weeks of

classes would put her too far behind to catch up. 75


                 x.     Sun makes her second report to UIUC

                   With Sun on her way back to the States, Xu needed to bring her in close. He began

a campaign of kindness, flooding her with loving texts (“I love you, I love you;” “My heart aches

after you blocked me for just one minute” 76) and promises that he would love her better. He

evidently hoped that through kindness, he could prevent her from making a full report to UIUC.

                   Behind the scenes, there was a flurry of ineffective activity at UIUC. The school

could not ignore the photographic proof of Xu’s abuse. On the other hand, UIUC has one of the



74
  Email from Robb Larson, SLCL Graduate Services, UIUC, to Anthony Cobb, Chief of Police, City of Champaign
(Aug. 15, 2014) (“I’m copying the Head of East Asian Languages & Cultures, Prof. Gary Xu, who first brought
[Sun’s] situation to my attention. Prof. Xu should be able to provide you with details and get in touch with the
student.”) (on file with the UIUC Office of Diversity, Equity, and Access).
75
  Email from Julian Parrott to Vina Sun (Aug. 19, 2014) (“What I don’t want you to do is hit campus deep into the
second week of the semester – for by then you’ll have missed too much work and you will struggle all semester long
for mediocre grades. I’ve seen it too many times. If it looks as if the process is going to be delayed and that you
won’t be able to start classes until after they have begun in earnest, I would highly, highly recommend that you ‘sit
out’ the fall semester and return ready, and super motivated, for the spring semester.”) (on file with recipient).
76
     Xingjian Sun, supra note 31, Attachment O.



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highest enrollments of Chinese students of all American universities and they provide an essential

financial pipeline for a state school facing constant political pressure to cut spending. 77 A scandal

in which a leading Chinese professor beats and rapes a young Chinese student over many months

without intervention by UIUC authorities was potential dynamite—particularly in light of the

recent high-profile murder of another Chinese student at UIUC. 78 After months of silence, in early

September, Sun received an email from Kaamilyah Abdullah-Span at ODEA, casually writing to

“follow up” on their conversation in May to “see how everything is going for you.” 79 She also

was called in for an emergency meeting with her advisor, Julian Parrott, on September 15, 2014.

Sun confessed everything to Parrott—Xu’s abuse from the start of their relationship to the beating

in Shanghai. She made a report to Abdullah-Span as well the next day.

                    Formally, UIUC went through the motions to handle Sun’s complaint. Xu had to

meet with the Dean of the College of Liberal Arts and Sciences, Barbara Wilson, and Associate

Dean Dave Tewskbury, to discuss the allegations, so he knew that Sun had reported him. The

University sent Xu a letter telling him to have “no contact” with Sun. 80 But this was form without

substance. UIUC did nothing to protect Sun from the foreseeable consequence of informing this

repeat domestic abuser, whose abuse photographs of Sun were in its possession, that Sun had

exposed his misconduct, or to enforce its no-contact order. UIUC failed to even tell Sun that Xu

was not to have further contact with her. After Xu’s meeting with the Dean, Xu showed up at



77
  Shen Lu, Chinese Students Flock to University of Illinois at Urbana-Champaign, MEDILL NEWS SERVICE (May 4,
2017), https://news medill northwestern.edu/chicago/chinese-students-economic-impact-on-u-of-i/.
78
  Mary Schenck, Updated: Man Sentenced to 46 Years for Killing Girlfriend, THE NEWS GAZETTE (Jun. 18, 2014),
https://www.news-gazette.com/news/updated-man-sentenced-to-years-for-killing-girlfriend/article 306da40c-895e-
564a-82ac-c1da9b0b6545 html.
79
     Xingjian Sun, supra note 31, Attachment J.
80
     Abdullah-Span, supra note 1, Exhibit I.


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Sun’s apartment. He burst through the door, shaking with uncontrolled anger. He slapped Sun.

He punched her. He choked her. Then, with a knife held to her throat, he told her to take back the

report. He told her to say that everything had been a delusion on her part, that she fantasized about

the relationship, but it had no basis in reality. He told her that if she did not do as he said, he would

not let other professors write letters of recommendation for her and would do all he could to hinder

her college education and prevent her from graduating. He threatened to send her back to China.

He threatened to hurt, perhaps even kill, her parents. He had tracked down her father, and knew

his name and address. Crying, Sun agreed. Xu gave her the script for what to tell the school. She

was to tell them that she had been assaulted not by him, but by another boyfriend (she did not have

another boyfriend). Under this overwhelming pressure, Sun withdrew the report during a meeting

with Abdullah-Span on September 17, 2014. UIUC never followed up.


             xi.      Sun enrolls in Xu’s Spring 2015 class

                   Although Xu was still furious with Sun for reporting, he needed to reconcile with

her or risk her reporting again. He insisted that they restart their sexual relationship. She did not

see any choice. He still wielded all the power. He had brought her back into the United States

and to UIUC. He warned her that he could just as easily force her back to China. Sun had invested

years in her education. She did not want to lose it all. She had become habituated to obeying.

She began having sex with Xu again, against her will.

                   After Xu’s and Sun’s reconciliation, their relationship became more brazen. Xu

took Sun to her classes many times a week. He often stopped by her apartment. They traveled to

Chicago together and to Indiana University, with Xu paying for transport. Sun took pictures of

their travels and posted them to social media. Always, there was the expectation that Sun would



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have sex with him on these trips or shortly thereafter. He told her that he had earned the sex

because he had exposed her to new places and new things that could advance her career.

                    At Xu’s insistence, Sun enrolled in a course he was teaching in spring 2015. He

could better control her if she was dependent on him for her grades; an “F” would put her visa in

jeopardy. Despite the no-contact order, Sun received no pushback for enrolling in or attending his

class from anyone at the University. No one was looking out for her.

                    Xu, emboldened by UIUC’s lack of response, flaunted his relationship with the

beautiful undergrad. Several students in Xu’s spring 2015 class—and in the EALC department at

large—commented on the unusual relationship between Xu and Sun, or seeing them leaving

together, sometimes heading towards his office where he would shut the door behind them. 81

                    In late spring of 2015, there was a sudden flurry of interest in Sun’s relationship

with Xu from the University, after Zhao reported concerns about Xu’s relationship with Sun, and

her own abusive relationship with him, to Professor Robert Tierney. 82 UIUC had done nothing to

enforce its September no-contact order, or follow up to see if Xu was obeying it. It had even

allowed Sun to enroll in his seminar. Nevertheless, Zhao’s notice to the school that Sun was in



81
  Zhao, supra note 10, para. 43 (“After that class, I would often have a cigarette with [two of Xu’s male advisees],
Haoyu Tong and Christian Potter. As we stood outside the building smoking, we would observe Xu and Vina
walking out of the building together, sometimes heading toward his office, where he would then shut themselves
behind his closed door. Watching this, and observing the abnormal atmosphere in the classroom, Christian, who
was not told of Vina’s relationship with Xu, expressed his suspicions that Xu and Vina were having an affair. Xu
was not subtle about their relationship, and it was obvious to many. I believe that faculty, too, were aware that Xu
was having sex with his young student. It was hard to miss, as Xu was flagrant and possessive with her.”); Josiah
Case, Witness Statement of Josiah Case, para. 16 (Jun. 27, 2019) (discussing rumors of Xu’s relationship with Sun,
and stating by the 2015 school year, it was common knowledge among staff as well); Christian Potter, Witness
Statement of Christian Potter, para. 9 (Sep. 3, 2019) (“I regularly discussed these issues with Josiah Case, a white
male classmate. We heard multiple times that he was ‘having an affair’ or ‘sleeping with’ students. This knowledge
was something nearly everyone in our cohort knew. The language used implied consent, obscuring just how
problematic Xu’s behavior was.”).
82
     See Xingjian Sun, supra note 31, para. 45.



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Xu’s class caused the school to act. In a letter dated April 7, 2015, Dean Wilson wrote to Xu that

Sun’s enrollment in his class “reflects a violation of the no-contact directive as well as poor

professional judgment.” 83 Sun was nonetheless allowed to remain in the class, with no apparent

oversight from the University.

                    Predictably, with his reputation threatened, Xu became enraged. Sun, who had

received no warning from the school that Xu was to be contacted again about their relationship,

was unprepared for the torrent of abuse Xu unleashed. The school contacted Xu several times in

the following weeks to ask about their relationship. Each time, Xu beat her—sometimes with a

rolling pin, sometimes with an ash tray, sometimes with his bare hands. He would berate Sun for

putting him in a position where his career and family could be jeopardized because of a “slut” like

her. 84 This intense level of abuse occurred five to six times that spring.


                xii.     Xu tries to run Sun over with his car; she escapes to the library

                    Xu left for China in the summer of 2015, in part to resume a sexual affair with

another University of Illinois student. Sun did not join him there. When Xu returned to UIUC, he

offered to help Sun move to her new apartment. Sun agreed.

                    While Xu was moving boxes downstairs, Sun checked his phone, suspicious that

he had been having sex with another woman while in China. The passcode for his phone was

Sun’s birthday.




83
     Abdullah-Span, supra note 1, Exhibit OO.
84
     Xingjian Sun, supra note 31, para. 45.



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                    Once Sun unlocked Xu’s phone, she was greeted with a pornographic exchange

between Xu and his new UIUC girlfriend. The student asked Xu to ejaculate into her “Size E”

breasts. “Ah Ah Ah, too beautiful!” “Yeah yeah,” Xu replied. 85

                    When Xu returned with the boxes, Sun demanded to know who the woman was.

Xu told her it was another UIUC undergraduate. Sun was devastated. Xu, however, was furious

with Sun for looking at his phone without permission. He slapped her across the face. Sun was

still holding the phone, and Xu began to chase her to get it back. Terrified that he would attack

her again, Sun ran towards the stairs and outside, still holding the phone.

                    At the stairs, Xu pushed Sun hard, causing her to collide into the wall and fall down

several stairs, resulting in bruising and an abrasion. 86 She picked herself back up and, in a panic,

began to run towards the closest building that she knew would be open—the public library. 87 As

she ran toward the library, Xu got into his car and began following, swerving the car over to the

sidewalk to hit her.

                    Fearing for her life, Sun ran into the library and frantically called her advisor, Julian

Parrott. She told Parrott that Xu was trying to kill her and that he had to come quickly to the

library. Parrott, knowing that the school had investigated Xu in the past, arrived shortly after she

called. By this time, Xu had called security—saying Sun had stolen his phone—who then called

the police.




85
     Xingjian Sun, supra note 31, Attachment P.
86
     Id. Attachment Q (Police Report).
87
   Id. (“METCAD had informed us the female involved in this incident was last seen running down Randolph Street
after exiting the apartment building.”).



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                         The police report details the incident, as well as Sun’s and Xu’s sexual relationship:

“Most recently, [Sun and Xu] had sexual intercourse with each other yesterday, 08-03-15, at

[Sun’s] temporary apartment…. [Sun] explained that she could provide a condom that [Xu] used

with her as proof that they were sexually involved with each other.” 88 The report also details Sun’s

prior abuse by Xu and her reporting to the University: “[Sun] went on to tell me about past abuse

by [Xu]. [Sun] advised that Gary frequently intimidated her by telling her things such as, he would

not let other professors write her letters of recommendation. [Sun] was led to believe that [Xu]

would take actions that would hinder the furtherance of her college education.” 89

                         The police ultimately resolved the dispute as a domestic battery and took no further

action, 90 although Sun knew that Xu had called the police in an attempt to get her arrested and

further upset her status in the country. His control over Sun’s presence in the United States was

his primary avenue for retaining control over her, getting her to continue to have sex with him and

not reporting him, even as their relationship soured. This time, his plan did not succeed—and he

was furious. As he left the library, he threatened in a low, menacing voice: “You are done.” 91


                 xiii.      Sun’s third report to UIUC

                         UIUC could no longer turn a blind eye to Xu’s intense abuse of one of its students.

As soon as Xu and the police left the library, Parrott called the secretary to the UIUC Provost and

UIUC counsel. Parrott then walked Sun to the UIUC campus where Sun met with these University

officials. She told them everything—setting out, for the third time, her prior disclosures, and filling



88
     Xingjian Sun, supra note 31, Attachment Q.
89
     Id.
90
     Id.
91
     Id. para. 47.


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in details of the more recent abuse, including his physical abuse of her and his requiring her to

have sex with him against her will. The officials said they would look into Xu’s behavior.

                      The next day, Sun went to the school’s Women’s Resource Center, where she was

encouraged to get a restraining order. The University did not participate in this. An advocate

unaffiliated with the University helped Sun fill out the necessary forms. Sun got an initial order

of protection on August 10, 2015. 92 In the absence of University assistance, Sun ultimately had to

find her own private attorney, spending almost $5,000 over several months of hearings without

any financial support. As a young student, this was a major financial burden.

                      The August 4, 2015, incident at the library marked the end of Sun’s relationship

with Xu. A month after their relationship ended, Sun learned that she had contracted chlamydia.

Xu was the only person who could have given it to her.


               xiv.      Sun tells her story

                      Shortly after the library incident, Xu departed for a fully-paid sabbatical in China.93

Sun was left reeling, dealing with the emotional and physical fallout of years of abuse. Sun

realized that she had fallen prey to a cycle of domestic violence, and fell into a deep depression.

She found herself contemplating suicide again, and knew she needed to do something to regain the

sense of control that Xu cost her.

                      In an attempt to gain back some of the autonomy that Xu had taken from her during

her sophomore and junior years, she decided to tell her story, anonymously and without naming



92
     Xingjian Sun, supra note 31, Attachment R.
93
   University of Illinois Board of Trustees, Sabbatical Leaves of Absence, 2015-16, BOARD OF TRUSTEES (Mar. 12,
2015), http://www.trustees.uillinois.edu/trustees/agenda/March-12-2015/004-mar-Sabbaticals-FINAL.pdf (granting
a sabbatical “First semester 2015-16, full pay”).



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Xu, on a Chinese social media site. Sun wrote, “During the two years I spent with him, I was

constantly threatened by him using domestic violence, my recommendation letter and my student

status as the tools. . . . He even threatened my parents. Using his position, he used soft

imprisonment on me for a year” 94 She continued: “There were a lot of moments that made me feel

it was true love, there were several dirty occasions where he found two female students for

‘threesome’ sexual relations, there were dangerous circumstances where I was arrested by the

police and my visa application was rejected, and there were shocking moments when I found there

was a fourth person, even though I had long known that I was the third person. The fourth person

was also a student.” 95

                     Sun’s statement captured the root of the problem that allowed Xu to exert his “soft

imprisonment” on her: she, and other Chinese students in her position “can’t seek protection

because of their nationality, they can be repatriated at any time.” 96 Xu abused this power; the

University let him.

                     Although Sun did not name Xu, someone in the comments did. Xu’s abuse of Sun

went viral. Xu was furious when he read the post. Although Sun was not named, Xu knew it was

her because of the details posted. To seek revenge, he found Sun’s contact information and caused

one of his friends to text Sun’s father in China. He said Sun was a lunatic who had a crush on an

older, well-known professor and had gone crazy when he rejected her, causing her to be admitted

to an “asylum.” 97 He told Sun’s father that Sun did not deserve an American education and should



94
     Xingjian Sun, supra note 31, Attachment S (translation of Sun’s personal narrative posted on Weibo).
95
     Id.
96
     Id.
97
     Id. para. 54.


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be taken back to China. Xu’s lies were humiliating, and caused an irreparable rift between Sun

and her traditional Chinese father, as Xu intended. Her father’s disapproval only added to Sun’s

depression and stress. Given Sun’s current mental state, and her past suicide attempts, Xu knew

full well the consequences of his actions. Sun’s ruined relationship with her father remains deeply

upsetting to her.


            xv.      Xu intimidates Sun to drop the case against him in court and at UIUC

                  In October 2015, Sun was in the process of receiving a final restraining order

against Xu. Xu knew that this would look terrible for him and hurt his career. He needed to do

all he could to get Sun to drop the case. He called Sun and begged her to drop it. He blamed the

entire relationship on her, telling her that she had ruined his life, and that if she did not drop the

case, he would kill her. Knowing how upsetting Sun had found it when he contacted her father,

he threatened to do it again. He told her that her family would not have a peaceful life in China.

He publicly called out her father on social media who, as a Chinese government worker, was very

invested in keeping his reputation clean—negative attention could easily cost him his job. Sun

feared for her parents’ reputation, and also for their physical safety, knowing exactly what Xu was

capable of. Under pressure, she dropped her case against him.

                  In an email dictated by Xu, Sun recanted her allegations. This time, however, the

University decided to continue investigating.

                  In May 2016, around the time of Sun’s graduation, and nine months after her third

report to the school, Xu and Sun received UIUC’s final report. The report concluded that Xu and




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Sun had been in a sexual relationship. 98 Xu again pressured Sun to recant, sending her a draft

email of exactly what he wanted her to say from his Hotmail account. She sent the document,

unchanged, to UIUC on May 16, 2016. The email he dictated said in part: “I . . . want to thank

Professor Gary Xu for everything he’s done for me in spite of the troubles I brought to him. The

two classes I took from Professor Xu were the most inspiring courses at UIUC.” 99 In the letter, he

attempted to save himself at Sun’s expense, blaming every prior incident and report to the school

as Sun’s “delusion.” 100 The letter concludes, in direct contrast to the school’s conclusions,

“Everything professor Xu says . . . is true. He never beat me. He never really had sex with me.

He had always been really nice to me. I am sorry for giving him so many troubles.” 101

                      Xu’s emotional and physical abuse of Sun, and the threats to her family, continue

to cause her great pain. She has been diagnosed with post-traumatic stress disorder, is in therapy,

and was on antidepressants for several years. She has had to spend many thousands of dollars on

mental health care as a result of Xu, and will have to spend many thousands more to continue to

heal from his protracted abuse.




98
  Abdullah-Span, supra note 1, 23 (“[T]he existence of a sexual relationship between the parties has been
established by a preponderance of the evidence. In addition, there is a preponderance of evidence establishing that
such a sexual relationship existed during the semesters in which Professor Xu participated in academic decision-
making over Ms. Sun[.]”)
99
     Xingjian Sun, supra note 31, Attachment V.
100
      Id. para. 60.
101
      Id. Attachment V.



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        b. Xu’s Exploitation and Attempted Assaults of Xing Zhao 102

                    i.    Xu recruits Zhao to obtain free work

                 Zhao’s relationship with Xu began in August 2012, a year before he began having

sex with Sun. Zhao had been following Xu on the Chinese social media site Weibo, where he held

himself out to be the great luminary of his field. He frequently posted photographs of himself at

conferences, talks and gatherings with students, and touted the success of his former students.

                 Impressed by Xu and his representations about UIUC as a center of scholarship in

her field, Zhao traveled to Illinois to meet with him in person and tour the university. Xu had

recently been appointed head of the EALC department—a promotion he flaunted, impressing upon

Zhao his near-unilateral power to grant her admission to UIUC and bestow financial aid. Zhao

was made very aware that she would need to impress Xu, and appear impressed by him, if she

wanted to study at UIUC.

                 During this visit, Xu took Zhao to lunch. Zhao at first thought this was a nice

gesture, but the meal soon became awkward. Xu exuded sexual interest. He said that Zhao

resembled his ex-girlfriend so much he wondered if they were related. Zhao felt like he was testing

the waters to see if she would be sexually available to him. Not wanting to harm her chances at

the school, she answered that there was no relation, and then tried to gently steer the conversation

in another direction.




102
    All information in this section comes from the Witness Statement of Xing Zhao, supra note 10, or from
interviews with Xing Zhao, unless otherwise noted.


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             ii.     Xu uses his position at UIUC to require Zhao to do hundreds of hours of forced
                     labor for him.

                  Nearly as soon as Zhao returned to her home in Kansas, Xu contacted her to have

her do work for him, without pay. Zhao knew that Xu’s ‘request’ was a demand—if she wanted

admission to UIUC, she had to comply. Xu reemphasized his importance as head of the department

and principal decider of admissions and financial aid.

                  In particular, Xu required Zhao to do translation work for an upcoming commercial

exhibition he was curating in China called Looking Awry. A commercial exhibition has little or

no academic value—its purpose is to make money for the artist, gallery and curator. Zhao received

no recognition or payment for this work. Xu took all the credit and was paid handsomely for

Zhao’s efforts.

                  Xu also required Zhao to translate dozens and dozens of letters by the Chinese artist

Zhang Xiaogang for a book project co-authored by Xu and another professor at UIUC, Jonathan

Fineberg. The book, Zhang Xiaogang: Disquieting Memories, was published by Phaidon in 2015.

All told, Zhao translated several hundred pages of letters between August 2012 and March 2013,

devoting many hundreds of hours to the project, all without pay. Because Zhao’s English was not

very good at the time, Xu used her translations in order to get the basic text correct, and then had

another student (again without pay) review the work for grammar and spelling. Xu’s work on the

translations was, at best, minimal, though Professor Fineberg later told Zhao that Xu claimed the

work as his own.

                  Professor Fineberg also told Zhao, several years later, that because Xu’s work was

so minimal—largely limited to translations which were included as an appendix—that the

publisher felt that Xu’s name should not be listed alongside Professor Fineberg’s as author and



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that Xu instead be listed as “translator.” This enraged Xu, who angrily threatened Professor

Fineberg with a lawsuit if Xu did not get his name on the cover. Xu then began calling the

Finebergs’ home repeatedly, intimidating his wife as well. Eventually, Professor Fineberg,

frightened and overwhelmed, acquiesced to Xu’s demands, and the publisher agreed to let Xu on

the cover as a co-author.

                 Zhao, working behind the scenes, was not aware at the time that Xu had told

Professor Fineberg that he was the translator of the letters. She only knew that she had to keep her

head down and do the work. In January 2013, she received an admission letter from UIUC and a

preliminary financial aid offer of $20,000 per year for three years. Many financial aid packages

cover only a single year, so this was a big coup. Zhao determined to accept the award, and did not

apply for financial assistance at the University of Kansas, where she was finishing up her first year

towards her master’s degree and eventual Ph.D. in the school’s EALC Department. In practice,

this meant that Zhao was giving up her spot at Kansas, as she could not continue there without

financial aid.

                 On April 10, 2013, Zhao received a revised financial aid admission letter to UIUC,

which replaced her original admission and financial aid offer. Instead of receiving $20,000 a year

over three years, the revised offer allowed her only $16,000 in financial aid, and for one year only;

she would have to reapply the following year. Unlike her first offer, which would have given her

a large degree of autonomy from Xu, this revised offer meant he would retain control over her.

She would have to continue to please him if she wanted to receive funding and graduate. Because

Zhao had not applied for financial aid at Kansas, however, she had no other option. She enrolled

in UIUC’s EALC department at the Ph.D. level with Xu as her advisor.




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                 iii.   Xu asserts his dominance over Zhao in her first semester at UIUC.

                    Zhao began her Ph.D. program in the fall of 2013. Almost immediately, she came

to see that Xu was an intellectual bully who kept his students isolated.

                    In September 2013, a Chinese UIUC student, Mengchen Huang, was murdered in

her apartment by a former UIUC doctoral student. The victim had studied under another professor

associated with the EALC department, Dr. Anne Burkus-Chasson. Zhao sought out Dr. Burkus-

Chasson to offer her comfort, and in the course of the conversation discussed a paper Zhao was

writing. Speaking with professors other than one’s advisor is commonplace in academia, and

universally encouraged. It is vital to a student’s success, particularly Ph.D. students who will need

to present in front of a committee, to form relationships with multiple professors. However, when

Xu found out that Zhao had spoken to Dr. Burkus-Chasson, he became enraged. By email he

wrote: “Did you approach [Dr. Burkus-Chasson] to read your paper? That’s unbelievable.” 103 He

told Zhao that if she ever spoke to this professor again, he would immediately kick her out of the

program. Zhao did not understand what she had done wrong—though she would soon learn that

Xu was hugely competitive with the female professors in the department, routinely defaming them

and verbally abusing them. 104 But Zhao did not want Xu to kick her out of the program or to lose

her visa, so she agreed not to speak to Burkus-Chasson again.

                    Xu also asserted his dominance over Zhao by overtly sexualizing her. In the fall of

2013, Xu commented on her outfit—a sleeveless, tea-length dress—in a way that was obviously

sexually appreciative, also running his eyes up and down her body lecherously. She stopped



103
      Zhao, supra note 10, Attachment A.
104
    Interview with Shao Dan, supra note 27 (discussing his belittling of a research project she was working on that
was upsetting enough that she wrote him a letter to express her displeasure with his treatment of her).


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wearing the dress. He would come up behind her and sniff her neck, nearly touching his nose to

her bare skin, commenting on her perfume or shampoo. She stopped wearing perfume, but that

did not stop him from smelling her hair. On another occasion, noticing her old computer, Xu

offered to buy her a new one, saying in a sexy voice, “Instructor would like to buy one for you.” 105

Zhao found this wildly inappropriate—the implication from his words and manner was clear: if

she allowed him to buy her a computer, he would expect something in return. She declined.


                 iv.      Zhao is required to perform hundreds of hours of free labor for Xu at a for-
                          profit commercial exhibition.

                       As it became more obvious to Xu that Zhao would not willingly have sex with him,

he determined to find other ways she could service him. Most often, this came in the form of

requiring her to do free labor, under threat of being kicked out of school and the country if she

refused. During Zhao’s first semester at UIUC, Xu was appointed the curator for an international

art exhibition that was part of Art Sanya, a commercial art exhibition in China. This was a

commercial project, assembled for profit. Xu likely made an estimated $100,000 for his role in

this exhibit. Zhao was one of two curatorial assistants.

                       While Xu was happy to pocket large sums for his own personal benefit, he cared

nothing about what Zhao’s intense work on the exhibit cost her. From August to November 2013,

Zhao’s work on the project was constant and consuming, at least 20 to 30 hours every week on top

of her regular studies. This required having to work late into the night, but Xu often phoned her

early in the morning about various details. Zhao slept fitfully, afraid that she would miss a call, or

fail to promptly respond to him and anger him. Zhao’s scholarship, the Tyler Fellowship, was a




105
      Zhao, supra note 10, para. 14.


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nonservice fellowship, meaning that she was meant to focus only on her own studies. For the

intensive period of the exhibition, however, from November 26 to December 7, she worked 15 to

20 hours per day. She had to go to China to do the work, forcing her to miss over a week of classes.

Her work was all done without pay, except for one lump-sum payment of $1000 in cash, which

Zhao took to be ‘hush money’ to silence her about several unsavory incidents involving Xu during

the exhibition, described below. To pay her the $1000 he withdrew $4000 from his wife’s account

and pocketed the remainder. Zhao knew she could not refuse to act as unpaid lackey: “I did not

feel that I could refuse Xu; if I did, I had no doubt that Xu would punish me, and perhaps even

remove me from the department and, by extension, the country, as he so often threatened to do.”106


                  v.      Xu assaults a young woman in Zhao’s presence.

                       During the most intense period of work, when Zhao accompanied Xu to China for

the exhibition, several disturbing occurrences happened that colored the rest of Zhao’s interactions

with him.

                       The first occurred several days before the exhibit opened, in December 2013. Xu’s

curatorship was chaotic. Many of the pieces for the display he was organizing were placed in a

showroom reserved for another exhibit, curated by Du Huang. 107 Despite numerous requests from

Huang to place these items in the correct showroom, Xu did not. Finally, with just days to go until

the opening, Huang could wait no longer. While Xu was out drinking with his friends, Huang

gave the command to move the items, carefully, to the proper space so that he could set up his own

exhibit. Huang, along with his 23-year-old curatorial assistant, Muqiao Sun, and other staff


106
      Zhao, supra note 10, para. 16.
107
      Muqiao Sun, Witness Statement of Muqiao Sun, para. 4 (Aug. 31, 2019).



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members, began gently moving items from the exhibit hall, taking care not to harm them and

leaving them in a safe location. 108 When Xu returned, drunk, and saw the items had been moved,

he was enraged.

                      The person who bore brunt of his anger, Muqiao, recounts what happened next. “I

heard a loud crash as he tore into the room, and turned to see a large figure barreling toward me

from the entrance. Xu was clearly angry, yelling unintelligibly. I was terrified by his aggression

and froze in place as he ran across the room. When he reached me moments later, he slapped me

across the face with an open palm, using an incredible amount of force that caused my glasses to

fall off. I hurt so very much from this battering.” 109 The slap left a handprint across her face that

lasted through the next day, and mental anguish that continued for another six months or more.110

                      As Xu left her in a bewildered daze, other men present at the exhibit ran over to

hold him back to keep him from beating her further. He was still fuming and gesturing, showing

no remorse at all. He acted as if it were his right to hit her. Even afterwards, he gave Muqiao just

a half-hearted apology, which was later undermined by his posting on social media that he

“accidentally touched” her while pushing through a crowd. 111

                      Zhao was standing just feet from Muqiao during Xu’s attack. She identified

strongly with Muqiao, who was a year younger than she was. Zhao knew that she could just as

easily have been Xu’s target. She knew now that the penalty for disobeying Xu could include not

only losing her university place, funding and status in the U.S., but physical assault.



108
      Muqiao Sun, supra note 107, para. 5.
109
      Id. para. 6.
110
      Id. paras. 9 and 11.
111
      Id. para. 10.


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                 vi.     Xu attempts to kiss Zhao.

                    With Xu’s slap still sounding like a warning shot in Zhao’s ears, she was forced to

continue working on the exhibition. One or two days after the assault, Xu again went out drinking

with his friends, while Zhao stayed in the exhibit hall working. He came back tipsy, following

Zhao around the exhibition hall, bragging about all the work he had done, and casually belittling

Zhao for being “stressed” 112 about the huge amount of work remaining.

                    Ultimately, they ended up on a set of outside stairs, with Xu crowding her from

behind. Xu reached around her back, caressing her shoulder and turning her to face him. As he

did this, he leaned in, his breath hot on her lips. It was an overt, aggressive sexual move and his

intentions were clear: he was going to kiss her. Zhao was terrified of him and did not want to

anger him, but she also did not want to get sexually involved with him. She was physically in a

precarious position, being positioned halfway up a flight of stairs. Zhao managed to extricate

herself by blaming his fondling of her on the alcohol, saying that he had to grab onto her to keep

from falling. In order to save face, Xu played along and went to his hotel room without further

incident, although Zhao could see the anger in his eyes.


                 vii.    Xu reasserts his dominance by belittling Zhao based on her looks.

                    Xu got his revenge.      During a media preview and opening banquet for the

exhibition, a Chinese artist commented on Zhao’s role to Xu and a table of his colleagues who

could potentially benefit her career down the line. The artist said, “A female student means a

girlfriend; a girlfriend can be a student.           There’s no difference between a student and a




112
      Zhao, supra note 10, para. 22.



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girlfriend.” 113 Zhao was embarrassed and demeaned by the characterization. She attempted to

stand up for herself while Xu said nothing, just looked on, amused.

                      Xu then underscored the artist’s point by recounting the story of a prospective

Chinese student of his. He was not able to meet with her in person, so he asked his mother, still

in China, to meet with her. His mother thought she was well-qualified, and the admission

proceeded. When Xu came to China next, he agreed to meet with her. He told the table: “Once I

saw her, I was shocked. How can a girl be this ugly! Her appearance disgusted me so much that

I could not even finish my meal! You know, you have to be good-looking in order to be my

student. That’s the bottom line.” 114 He told this story in front of Zhao, deprecating her intellectual

capability by implying that she was only admitted because he found her sexually attractive. 115


                 viii.   Xu attempts to involve Zhao in defrauding exhibit organizers

                      Xu made Zhao uncomfortable in other ways as well, as Zhao began to suspect that

Xu was defrauding the organizers of the Art Sanya exhibit.

                      Xu was promised 200,000 yuan for his work on the exhibit, or about $30,000.

Generally, this is the only fee a curator would receive for his work on a group project, such as the

one at Art Sanya. But Xu wanted more. He fraudulently made up a number of expenses, totaling

55,000 euros, including a nonexistent 10,000 euro “copyright fee” and other invented costs for an

exhibit by artist Koen Vanmechelen. 116 When the organizers asked for an itemized breakdown, it




113
      Zhao, supra note 10, para. 23.
114
      Id.
115
      Id.
116
      Id. para. 24.


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became clear that Xu had drastically inflated the number. The organizers ultimately agreed to pay

35,000 euros, but that was still much more than Xu had actually spent.

                 Xu evidently became nervous and wanted to cover his tracks. Rather than deposit

the illicit funds directly into his own bank account, he lobbied Zhao to receive the money into her

account, from which she could transfer it to his. Zhao refused several times, but Xu continued to

threaten and intimidate her until she reluctantly acquiesced. On the first attempt, the funds did not

go through. Xu then pressed Zhao to open a new bank account in her own name to receive the

funds. Xu showed up at her door, escorted her to his car, locked the doors, and drove her to the

bank. He did not let her out of his sight, even accompanying her to the teller. With Xu at her

shoulder, the teller told Zhao that she could not open the account and receive money on the same

day. Xu decided he could not wait any longer and allowed the money to flow into his account.


               ix.   Coerced labor is a constant during Zhao’s time at UIUC

                 While Zhao’s work for the Art Sanya exhibition was the most glaring example of

Xu’s exploitation of her labor, he required her to do work for him throughout her time at UIUC,

ranging from translations to graphic design. For example, in February 2015, he required Zhao to

make an exhibition poster for another commercial exhibition he was curating called China Pop.

Xu likely placed a line item in the budget for marketing and graphic design, but rather than pay a

professional to do it properly, he took Zhao’s free labor and pocketed the money earmarked for

design fees.

                 Zhao received no compensation or credit for any of this work, usually around 5 to

20 hours a week. This work had no benefit to Zhao or her education—it was outside her interests

and desired skillsets. She was forced to do it at the expense of her coursework. But failure to obey

Xu was not an option. He held too much power.

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                       In contrast, Xu received substantial financial benefit from Zhao’s work. All the

work Zhao performed for him was for his own commercial gain.

                       Zhao’s experience was not an isolated one.               Another student in the EALC

department, Grace Chang, bore witness to professors’ exploitation of students’ labor at UIUC:

           I saw and heard of many Chinese professors taking advantage of their Chinese
           international students’ services because they were playing on these students’
           vulnerabilities. Usually, this took the form of free labor services—professors took
           advantage of these students’ time and resources, using them to advance the
           professors’ work/research for them, even as this made some students fall behind on
           their studies. This was a university-wide problem. I saw this in the EALC
           department, but I heard of a number of cases in the science and engineering
           departments, where research skills were more easily transferable to personal profit
           and gain for the professors. 117

                  x.      Xu creates a toxic atmosphere for his female students outside the classroom

                       Xu thrived on creating an atmosphere of unease among his female Chinese students,

one where they were required to repeatedly prove their loyalty to him or risk excommunication.

                       One of his favorite methods for doing this was through a chat group for his Chinese

students on the Chinese social media platform WeChat called “The Xu Gang.” He used it

repeatedly as a way to test and demand the loyalty of his Chinese students. 118 If he wanted to

humiliate a student, he would simply block him or her from the group, which all the others would

see. 119

                       On one occasion, Xu posted, “If any of you ever badmouth me behind my back,

please just quit [the program] immediately. Our master-apprentice relationship ends here. . . .



117
      Grace Chang, Witness Statement of Grace Chang, para. 11 (Sep. 4, 2019).
118
   Potter, supra note 81, para. 18 (“Because I was a white male, I was not invited to be in the WeChat group—the
group was only intended for his female Chinese students.”).
119
      See also Mei Wang, supra note 14, para. 9.



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Anyone who talks behind someone’s back is not suitable for the academia.” 120 Students scrambled

to pledge their loyalty to him and denounce whoever had been so misguided as to question Xu,

and watched the feed to see who would be dropped. 121 On this occasion, one of his advisees, Chen

Ma, was dropped—as it turned out, because Xu suspected that she knew about his relationship

with Sun. 122 The expectation was that Ma would have to beg to get back in his favor. 123

Displeasing Xu usually meant being shunned by his other students too, who did not know how to

stand up to his bullying.

                    Students sometimes went to extreme measures to restore themselves to Xu’s good

graces. One student knelt outside the front door of his house for hours until he forgave her for her

perceived infraction. 124

                    Xu also asserted his superiority over students, and other professors, by speaking

about them behind their backs. He said to Zhao that Ma was “useless” and “at best, she could



120
      Zhao, supra note 10, para. 33.
121
   See Case, supra note 81, para. 11 (“[Xu] used an exclusive WeChat group to communicate with [his favored
students]. Xu appeared to strictly police inclusion in the group, and at least once removed a former advisee from the
group after the student switched advisors.”); Potter, supra note 81, para. 18 (“Xu was an emotionally manipulative
person, using WeChat—a Chinese messaging platform—to include or exclude students from his inner circle. One
moment a student would be favored and in Xu’s WeChat group, and the next minute that same student would be in
the wrong and removed from the group. Xu’s misuse of WeChat groups caused many UIUC students significant
distress. It was hard to tell how one could stay on his good side.”).
122
    See also Frank, supra note 17, para. 13 (“Zhao explained to me that Xu even went as far as dissuading graduate
students from socializing with Zhao and Ma, academically and socially, presumably because he was afraid of what
they might tell other students about him, including his relationship with the undergraduate student.”).
123
    See also Zhao, supra note 10, para. 34 (“In the above instance, it was Ma who was inexplicably blocked. When I
asked Xu what prompted the post and his blocking of Ma, he responded that some people were spreading rumors
about him and a female student. I assumed he meant Ma was the one spreading rumors, although she had not been. I
was soon to learn that these were not rumors at all, but were the truth.”)
124
    See also Mei Wang, supra note 14, para. 4 (“He often threatened to cut students off, saying ‘I do not want to
study with you anymore.’ He used this threat to keep students in line. One time, I-In Chiang, one of Xu’s students,
even kneeled down in front of Xu’s door for forgiveness, hoping that Xu would keep working with her. Xu greatly
enjoyed this power dynamic, consciously wielding his power in an inappropriate way to make his students feel small
and scared.”).



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become a librarian.” 125 Ma was a frequent target for attack, as she knew of his affair with Sun.126

In one incident, Xu excoriated Ma for having taken the side of a visiting professor, his former

advisor, over Xu in an academic debate, which would be perfectly acceptable in a normal graduate

program. He shut her in his office while berating her, telling her that she had humiliated him and

threatening to expel her if she did not quit of her own volition. Ma, terrified, began to cry. Xu

then held her close, licking her tears away, and calling his performance an act of “American-style

passion.” 127

                     Xu’s treatment of Ma made Zhao deeply uncomfortable, both because Ma was one

of her good friends and because she knew that it meant that Xu was likely talking about her behind

her back as well. In fact, he did talk about her. Christian Potter recounts: “One day, I was smoking

outside class. Sun came up to me and asked for a cigarette. She told me that Xu told her that I

was a good student, unlike Zhao, whom he apparently described as ‘absolutely terrible.’ I found

this to be totally out of line. Zhao was one of Xu’s advisees – his treatment of her was cruel and

unnecessary and she was anything but ‘absolutely terrible.’ It was clear to everyone that she was

extraordinarily gifted, with huge talent in this intellectual discipline.” 128

                     Barricading students in his office was a favorite intimidation technique of Xu. It

worked especially well on Zhao, who had developed a deep physical fear of him after seeing his

attack on Muqiao Sun. In one instance, he called Zhao angrily to his office. Once she entered, he

immediately shut the door and positioned himself in front of it. He demanded that she explain her



125
      Zhao, supra note 10, para. 31.
  See also Mei Wang, supra note 14, paras. 7-8 (recalling Xu as having been “inordinately and unnecessarily harsh”
126

toward Ma).
127
      See also Frank, supra note 17, para. 9.
128
      Potter, supra note 81, para. 16.


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relationship to a male friend of hers named Yiqian Wang. Wang was also a friend of Sun, and

knew about Sun’s tumultuous relationship with Xu. Xu forcefully snatched Zhao’s phone from her

hands, then demanded that she never see or speak to Wang again. Zhao was dumbfounded, and

asked for the opportunity to bring Wang to his office to discuss what was prompting this outburst.

Zhao attempted to take the phone back, but Xu forcefully stopped her, knocking her hand hard in

the process. Xu then seemed to catch himself, told Zhao she had not yet done anything wrong,

and told her not to tell Wang anything about their meeting. His behavior was erratic and alarming,

leaving Zhao off-balance. Although he only hit her hand, she felt that he was on the edge of greater

violence. 129 When he stepped aside to let her leave his office, she was quaking with fear.

                    On other occasions, Xu insisted that his students delete the contact information of

his other students from their phones. He apparently sought to retain total control over the group’s

interactions, and to be able to ostracize anyone who displeased him.

                    Xu’s behavior was intentional. He got pleasure from seeing his students fight each

other for his approval. He exulted in requiring elaborate proofs of their loyalty. He even enjoyed

seeing them cry. On two occasions, his former advisee, Josiah Case, witnessed Xu exacerbate two

young female graduate students’ emotional upset and tension, reducing them to tears. 130

                    All of Xu’s behaviors created an atmosphere of distrust and paranoia among his

female Chinese students, who bore the brunt of his abuse.




129
      See Zhao, supra note 10, para. 41.
130
   Case, supra note 81, para. 14. See also id. at para. 17 (“I often heard general complaints about Xu’s behavior
from my female peers. They occasionally told me that he was controlling and domineering, confirming my own
impression of him. [My colleague Christian] Potter also shared this impression of Xu. We spoke together often
about how uncomfortable we felt in his classes, in part because of the way in which he treated his female students.”).


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                  xi.    Xu makes an example of a student who crosses him

                     Xu’s demands for loyalty became more pressing as his relationship with Sun

became more intense and visible. In the early spring of 2014, Ma and Zhao ran into Xu with Sun

at an off-campus coffee shop. Caught unexpectedly, Xu introduced Sun as the daughter of one of

his friends. Ma, eager to get back into Xu’s good graces after he berated her for debating him,

took Sun under her wing. 131 She saw Sun as an isolated, naïve young woman in need of a friend.

Ma took her to church and tried to befriend her.

                     In the early morning hours of April 25, Sun called Ma in tears, begging for help in

finding Xu, threatening suicide if she did not get in touch with him. Worried, Ma called Zhao,

who advised her not to help. Zhao suspected that Xu and Sun were having an affair and that getting

entangled in their dispute would result in trouble for Ma, though she did not tell Ma she suspected

an affair. Ma decided not to take Zhao’s advice and gave Sun Xu’s home address. Sun’s

appearance at Xu’s house resulted—at Xu’s insistence—in the police filing a report against Sun

for disorderly conduct, the event that later delayed Sun’s return to the United States from China

(see paragraph 76 above). 132

                     The next morning, Xu blamed Ma for the entire incident, absolving himself of any

fault. He left voicemails on her phone swearing at her and threatening her. Ma had thought she

was saving a young woman’s life, a woman whom she did not at that time suspect of being sexually



131
   Mei Wang, supra note 14, para. 10 (“Since Ma was trying to repair her relationship with Xu, she took his request
[to help Sun] very seriously, going out of her way to become Sun’s friend.”). See also Frank, supra note 17, para. 10
(“Xu also made Ma and Zhao Xing . . . ‘handle’ a female undergraduate student with whom I later learned he was
having an affair. Xu wanted them to help him avoid the appearance of an improper relationship with the
undergraduate and make sure that the undergraduate was happy. I found this extremely abnormal for any advisee-
advisor relationship.”).
132
      See also Frank, supra note 17, para. 11.



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involved with Xu. Xu’s tirade in response to another perfectly normal act convinced her that she

could no longer remain at UIUC. She left the program at the end of the year with an M.A. instead

of continuing to obtain a Ph.D. as she had planned, and left the United States. 133

                        Ma was seen as a cautionary tale for the Chinese students who remained: if you

cross Xu, you, too, will be forced to stop your schooling and leave the country. 134 Xu did nothing

to dissuade his students from this interpretation and instead capitalized on it as Xu’s students,

including Zhao, redoubled their efforts to please him.


                 xii.      Xu creates a toxic atmosphere for female students in the classroom

                        While the nearly universal experience of Xu’s students was that Xu was a terrible

professor, 135 the young Chinese women in his classroom received the worst of him. Xu enjoyed

using the classroom as a forum for asserting his own importance and authority and humiliating

them. Zhao was a frequent but not exclusive target. Even women who were not the brunt of Xu’s

strange and domineering behavior were made to feel anxious and clammed up lest he erupt. With




133
    See also Yueling Ji, Witness Statement of Yueling Ji, para. 4 (Sep. 2, 2019) (stating that, through discussions
with Ma and Zhao, she “understood that Xu was bullying her, and putting her in an awkward position with an
undergraduate student with whom he was having a sexual relationship”); Mei Wang, supra note 14, para. 12 (stating
that Ma was “scared of Xu’s wrath” and because of this, and Xu’s treatment of her, felt that she had to leave UIUC).
134
      See Zhao, supra note 10, para. 40.
135
    See Ji, supra note 133, para. 7 (“My general experience of the class was that it was disorganized, and Xu often
came to the sessions unprepared.”); Potter, supra note 81, para. 5 (“Xu also was rarely prepared for his lectures. He
would waltz into a lecture hall and start spewing information, much of which was either incorrect or totally
irrelevant to the topic at hand.”); Case, supra note 81, paras. 5-8 (Xu did “not know what he was talking about and
he didn’t seem to care”); Mei Wang, supra note 14, para. 2 (“I did not take more classes with Xu in large part
because I did not like the way he interacted with his students. He conducted discussions in a way that made me
uncomfortable, and he was often harsh towards us. . . .”).



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the women in the class meek and quiet, Xu was able to concentrate on his preferred students—the

men. 136

                     One way Xu created a toxic environment was to talk inappropriately about sex, and

the male’s “dominance” in the act. 137 He once proudly told a group of students, including Zhao,

how he had “competed and defeated” his wife’s suitors to become “the first man of her.” 138 Xu

did not think it was odd to talk about his wife losing her virginity to him to his assembled students:

He was proud of it, and of his “ownership” of her. 139

                     During one lecture, Xu connected his laptop to the HDMI cord and something along

the lines of “hot girls in your area” popped up on the screen. Xu laughed the incident off, saying

“Oh, you should not see that!” and minimized the window. 140

                     His former advisee Christian Potter recounted that “Xu usually told us that our

interpretations were totally incorrect—particularly if the individual giving the interpretation was a

woman. . . . The classes were not about the truth or learning. They were an opportunity for Xu to

grandstand and make his students—particularly his female students—feel small.” 141 Another




136
   Frank, supra note 17, para. 5 (“During the 2013 Chinese literature course, I started to notice how Xu often treated
male students better than female ones. He also tended to treat . . . non-Chinese students better than Chinese ones. I
think he took advantage of power dynamics and cultural norms—usually based in gender, age and/or nationality.”);
Mei Wang, supra note 14, para. 5 (discussing the difference in how Xu treated his male versus female students).
137
      See Zhao, supra note 10, para. 28.
138
      Zhao, supra note 10, para. 28.
139
      Id.
140
      Potter, supra note 81, para. 5.
141
   Id. para. 6. See also Jing Cai, Witness Statement of Jing Cai, supra note 27, para. 6 (“I also noticed that Xu
easily remembered the names and other personal details of women he met, but often forgot the names of men. His
focus was on his female students.”)



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student, Mark Frank, “noticed how Xu was unprofessional and disrespectful in the way he spoke

to . . . female students.” 142

                     Xu seemed to enjoy singling out certain women to belittle—usually Zhao, but also

others. After Xu knew that Ma was aware of his relationship with Sun, he denounced her as

“stupid” in front of the class. 143 Xu called another student “brainwashed,” a term that holds severe

connotations in China. 144 He called this same student “weak,” and pointed out that she had a

medical condition to the entire class. 145

                     These incidents combined to make the classroom experience untenable for his

female students generally, and for Zhao in particular.

                     It was widely thought at UIUC that Xu singled out Chinese women for negative

treatment because he could – because they were culturally primed to obey him and because they

had the most to lose. Dr. Michelle Yeh, who is friends with Xu’s former advisor 146 and is familiar

with Xu, explained as follows:

            When young Chinese students come to the United States for university, they
            generally have little knowledge of American law, sexual norms and sexual
            misconduct reporting procedures. They are taught to be reverential to their
            professors. In addition to this, they are often concerned about their visa status. It
            is easy for Chinese victims of misconduct to feel helpless, as they do not want to
            lose their foreign student status. It is clear that Xu knew about these vulnerabilities,
            and took advantage of them. He was able to use his female students’ lack of
            knowledge and insecurity in order to benefit himself, at the great expense of these
            young women. 147


142
      Frank, supra note 17, para. 8.
143
      Id.
144
      Zhao, supra note 10, para. 30.
145
      Id.
  Yeh also stated that Xu’s former advisor, Der-Wei (David) Wang considers Xu to be a “stain on his life’s work.”
146

Yeh, supra note 9, para. 6.
147
      Yeh, supra note 9, para. 7.


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                      Yeh’s sentiments were echoed by numerous young Chinese women. As Xu’s

former Chinese student, Yueling Ji, stated, “In China, professors are revered and held on a high

pedestal. From a young age, Chinese students are generally taught to obey their instructors, and

to think of them as caring people who always do the right thing. . . . In many ways, female Chinese

students in the EALC department were more vulnerable to Xu’s bad behavior than their American

counterparts, at least in part because of cultural predispositions and practices.” 148 Another EALC

student, Grace Chang, who is a U.S.-born Chinese woman, said, “The international students at

UIUC, particularly the women, are incredibly vulnerable. Part of Chinese culture is to revere your

professors and do as they say. When they come to the States, this cultural norm is further engrained

because they are so dependent on their professors for grades, financial aid, and even the ability to

stay in the country. This is particularly acute for the students who rely on financial aid.” 149

Because she was U.S.-born, she believed, “Xu left me alone because he had no leverage over me

. . . he had nothing to gain from me.” 150 His former advisee, Christian Potter, stated: “I quickly

noticed how he treated female Chinese students with contempt. He took advantage of female

Chinese nationals and their cultural background, expecting them to be docile and overly respectful

to him.” 151




148
      Ji, supra note 133, para. 6.
149
      Chang, supra note 117, para. 10.
150
      Id. para. 12.
151
      Potter, supra note 81, para. 8. See also, generally, Interview with Shao Dan, supra note 104.



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                xiii.    Xu’s efforts to belittle and isolate Zhao intensify in the 2014-2015 school year

                     Zhao continued on at UIUC for her second academic year, 2014-15. During this

school year, Zhao switched from pursuing a Ph.D. to pursuing a two-year master’s degree. After

being victimized by Xu, Zhao wanted to leave UIUC as soon as possible.

                     She remained afraid of Xu and had actively lobbied him to take on more male

students as advisees, hoping they would form a buffer between them. Xu agreed, perhaps hoping

to deflect attention from his sexual relationship with Sun. 152

                     Nevertheless, Xu escalated his attacks and public humiliation of Zhao, who posed

a threat because she knew he was sleeping with Sun. He needed to “put her in her place” so she

would be less likely to report him, and to discredit her so she would not be believed if she did. 153

                     In fall 2014, Xu insisted that Zhao enroll in his graduate seminar on contemporary

Chinese art. Xu announced to that class that Zhao did not have the skills or intellect to enter into

a profession, so would need to rely on her good looks to get ahead. Zhao was mortified. In any

other situation, she would have objected to this objectification and denigration. But she had been

cowed by Xu and knew that if she spoke up he would retaliate. Zhao merely bowed her head and

nodded, letting the moment pass. This incident was so memorable that one of Xu’s other advisees,

Christian Potter, later mentioned it to his professor, Robert Tierney, when he reported his

suspicions that Xu was having inappropriate sexual relationships with his students. 154 Tierney did



152
   Frank, supra note 17, para. 5 (noting how “year after year, almost all of Xu’s graduate students were young
Chinese women”); Potter, supra note 81, para. 3 (“I soon realized that I was one of the ‘token white guys’—male
advisees taken on only to show that Xu wasn’t advising only young, attractive Chinese women… It is my
understanding that before we matriculated it had been many years since he had taken on a male advisee.”).
153
      See Zhao, supra note 10, paras. 36-39.
154
      Potter, supra note 81, para. 20; Zhao, supra note 10, para. 39.



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not make a report at this time or encourage Potter to do so. 155 On other occasions, too, professors

were notified about Xu’s inappropriate relationships or emotional abuse of students, but did

nothing. 156 They were scared of him and the power he wielded.

                     Potter was not the only one to notice an odd dynamic between Xu and Zhao and

wonder if they had more than a professor-student relationship. 157 On one occasion during this fall

seminar, while Zhao sat defensively in her desk chair, Xu stood over her in a domineering posture

and verbally berated her. 158 “It was clear to everyone that Xu’s behavior reflected a relationship

between Xu and Zhao that went beyond the classroom.” 159

                     Xu’s spring 2015 class on Chinese cinema was even more uncomfortable. Open to

graduate and undergraduate students, Zhao and Sun both enrolled. Xu took evident delight in

pitting Sun and Zhao against each other. 160 When Zhao spoke, he would encourage Sun to speak

forcefully against whatever Zhao had just said. Contrary to what a professor should do, Xu made

Zhao so uncomfortable that she was bullied into silence. 161




155
      Interview with Christian Potter (Apr. 25, 2019).
156
   Interview with Terri Weissman, Associate Professor, University of Illinois at Urbana-Champaign (Oct. 2, 2018);
Interview with Shao Dan, supra note 104.
157
    Cai, supra note 26, para. 5 (recalling Xu’s poor treatment of Zhao, and stating it “made me wonder whether there
was more to their relationship than student-professor”).
158
      Potter, supra note 81, para. 12.
159
      Id.
160
    Id. para. 15 (“It was clear once again that Xu got pleasure out of making Zhao’s classroom experience demeaning
and humiliating. He particularly liked pitting Sun and Zhao against each other in class. Xu pressured Sun to argue
aggressively against Zhao in class in an attempt to undermine Zhao’s argument publicly.”); see also id. (“I found
[Xu’s] behavior to be bullying and confusing, as did other of my classmates. It seemed as though there was a back
story between Xu, Sun, and Zhao, which felt sexual.”).
  Id. (stating that Zhao told him that “she had been feeling unsafe [in the classroom] until she was surrounded by
161

me and other male classmates during class. She told me that the bullying was so intense that she felt she needed a
physical buffer between her and Xu.”).



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                    By the end of March 2015, Zhao felt like she was having a breakdown because of

Xu’s cruelty. Zhao determined that she would not continue at UIUC for her Ph.D., upending her

career plans. However, Zhao still hoped to obtain her Master’s degree, for which she needed Xu

to review and comment on her thesis. Despite repeated requests over the course of months from

Zhao for Xu to fulfill his most basic role as advisor of guiding her with her thesis, he ignored her.

Zhao sent him a revised draft on March 20, 2015. He responded to it by saying, “I am afraid you

won’t be able to turn in a polished thesis in time. You have stylistic and logical problems in almost

every sentence and every statement.” 162 He offered no constructive feedback and no path forward.

Zhao followed up with him politely, to which he responded, almost as an afterthought, “Also, I do

not want to work with you anymore for your doctoral studies. Please consider switching to a

different program.” 163

                    His refusal to assist with her thesis and repudiation of her ambitions for a Ph.D.

were unprofessional and cruel, but also typical. He had done the same with Chen and with other

students before her. With other students, imperious rejection often worked: they came back

desperate to be readmitted to the fold. One had even knelt outside his house for hours abasing

herself. (See para. 142 above.) In Zhao’s case, however, she realized Xu would always seek a

new way to abuse her, so she secured another advisor to complete her master’s thesis, Robert

Tierney. Of course, her thesis was not the pathetic failure, with “stylistic and logical problems in

almost every sentence and every statement,” that Xu had described. With normal assistance from




162
      Zhao, supra note 10, para. 44.
163
      Id. Attachment B.



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Tierney, it was approved and she received her Master’s degree. Nevertheless, she gave up her

ambitions for a Ph.D. 164

                 Prior to her graduation, at the end of March 2015, Zhao decided that to protect Xu’s

future and current students, she needed to report Xu’s abuses of her and Sun. She told her new

advisor, Robert Tierney, everything—Xu’s sexual advances to her in China, how he had slapped

the young curatorial assistant in her presence, his relationship with Sun, the mandatory labor she

was forced to perform. Tierney recommended that Zhao drop Xu’s seminar, which she did, despite

having put in months of effort. He also put her in contact with a woman up the chain of command

at UIUC. Zhao told her story to this woman too, whose name she no longer recalls. The woman

asked few, if any, follow-up questions and merely placated Zhao by telling her that she would be

able to get her degree. The message was clear: the school did not want her making waves.

                 Although Zhao has had no contact with Xu since graduating, her experience at

UIUC continues to haunt her. She stays up at night crying, wishing that she had not fallen prey to

him. She feels manipulated and used. He took away her innocence and exposed her to violence,

greed, and cruelty that she would not otherwise have had to experience and endure at a young age.




164
   Zhao, supra note 10, para. 46. See also Frank, supra note 17, para. 16. (“Ultimately, both Ma and Zhao left UIUC
because of Xu’s bad behavior. They would have happily stayed in the program otherwise and originally had hoped
and planned to do so. They had originally intended to do PhDs at UIUC. Neither felt that they could work with Xu
or stay at the university; he abused them emotionally, publicly and privately, constantly undermining them and
refusing to provide them with needed academic support.”).
Zhao and Ma were not the only students who left earlier than intended because of Xu. See also Case, supra note 81,
para. 18; Potter, supra note 81, para. 22.



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       C. Xu Is Called Out for His Abuse of Women

              a. Xu continues to be paid by UIUC and hold himself out as a professor

                     Xu left UIUC on a paid sabbatical when the news of his sexual relationship with

Sun broke in 2015. 165 For the 2016-17 and 2017-18 school years, UIUC continued to pay Xu his

full $85,446.08 annual salary, 166 plus benefits, per the terms of a separation agreement. 167 Xu was

also given a $10,000 separation bonus. 168 His students, and others in the EALC department, were

not told when, or if, Xu was coming back, causing them a great deal of anxiety and unease. 169

During these two years, Xu took visiting professor assignments, including at the Sichuan Fine Arts




165
      University of Illinois Board of Trustees, supra note 93 (granting a sabbatical “First semester 2015-16, full pay”).
166
   University of Illinois Board of Trustees, University of Illinois Gray Book, BOARD OF TRUSTEES (Aug. 28, 2017,
10:04 AM), http://www.trustees.uillinois.edu/trustees/resources/historical-files/GrayBook2017.pdf.
167
   Separation Agreement between Gary Xu and the University of Illinois, supra note 4, “Terms” (“The University
will forgo pursuing the revocation of Dr. Xu’s tenure rights or other disciplinary actions against him and will instead
allow him to remain on paid administrative leave through August 15, 2018. While on administrative leave, the
University will continue to pay him his current annual salary of eight-five thousand, four hundred and forty-six
dollars and eight cents ($85,446.08) and shall offer him the same health care benefits that are made available to
other members of its faculty.”).
168
   Id., “Resignation.” See also Interview with Shao Dan, supra note 104 (stating that even after the faculty received
the report, Xu was allowed to remain affiliated with and paid by the school through 2018, when he was allowed to
resign).
169
   Chang, supra note 117, para. 7 (“Throughout the 2015-16 school year, we students had no sense of when, or if,
Xu—now known to us to be a violent sexual predator—would be returning to the school. We were concerned and
disturbed of his potential return, after learning how unethical he had been with the undergraduate student he was
having sexual relations with. We were concerned about him coming back, and what our exposure to him would be.
The female Chinese students who were studying under him were especially vulnerable. They were concerned that
they would have to take classes with him, and that he might advance on them. We were disappointed, scared, and
upset that nothing was being done. Our impression was not only that nothing was being done, but that nothing could
be done—our department had no power to protect us from Xu.”). See also Interview with Shao Dan, supra note
104.



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Institute 170 and Stockholm University, 171 where he held himself out as a professor at UIUC and/or

EALC department head, along with all the credibility and gravitas that came with that position. 172

                    The University did not tell the outside world that Xu’s departure was forced because

he had violated its sexual harassment rules. Presumably to avoid a scandal that would hurt its

recruitment in China, Xu was allowed to leave quietly—with a gift from the University in his

pocket—and to maintain his highly desirable title of UIUC professor.

                    His former UIUC colleagues even joked in front of each other and students about

the ‘good deal’ that Xu was getting. 173 At a faculty meeting that included two student

representatives, one professor asked the interim head of the EALC department, Jerome Packard,

whether Xu was still affiliated with UIUC. 174 Another professor asked whether Xu was still being

paid. Packard answered affirmatively to both questions. As recounted by one of the student

representatives there, Mei Wang, “this prompted a lot of jokes from the professors in the room

about how he was collecting checks while not working. One said, ‘I want to be in his position!’

while another responded, ‘If you want to be in his position, then you just have to do what he

did.’” 175 At this point, each professor knew that Xu had beaten and raped an undergraduate



170
      Shenzhen Biennale Fires Curator Gary Xu over Allegations of Sexual Harassment, supra note 7.
171
      Monday Lecture: Translating the Visual: the Problems of Tradition in Contemporary Art, supra note 8.
172
   Monday Lecture: Translating the Visual: the Problems of Tradition in Contemporary Art, supra note 8; Interview
with Shao Dan, supra note 117.
173
      Mei Wang, supra note 14, para. 21.
174
    The faculty seemed unaware of Xu’s status, and his return to the University, which was frustrating for the
students in the department. See Chang, supra note 117, para. 9 (“I remember talking with other students in the
department about whether some of the professors even knew that Xu had been sexually involved with a student, and
whether one of us should tell them. This was extremely frustrating for me, because I felt like the faculty should be
in the know and telling us students what had happened, what was going to happen, and how we would be protected.
This was just not the case.”).
175
      Mei Wang, supra note 14, para. 21.



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student. Xu continued to be listed on UIUC’s website as a faculty member through August 2018,

and periodically returned to campus to participate in graduate student oral exams, supervise

graduate students and have access to UIUC’s women. 176


             b. Wang is concerned that Xu will harm additional students 177

                    Ao Wang knew Xu casually, and knew of him more deeply through the experience

of his friend, whom Xu had tried to rape. In addition, Wang had heard on several occasions that

Xu had been sexually involved with his students—in the 2015 social media post from Sun in which

she describes her abusive relationship with Xu and his sexual relationships with other students,

and from Michelle Yeh, in 2016. Ao Wang received further confirmation of Xu’s predatory

behaviors toward and sexual relationships with his young students through Xu’s former advisor

David Wang in late 2017. David Wang also told Ao Wang that Xu was allowed to continue to be

affiliated with UIUC, despite his abuse of his students. Ao Wang knew that the attempted rape of

his friend was not an isolated incident, but the pattern of a serial rapist.                    He thought it

unconscionable that Xu would be able to resume teaching duties as a visiting professor, or even a

full professor at a Chinese university, fully cloaked in the authority of UIUC. He knew it was

inevitable that he would prey on other young students.

                    To try to stop Xu, Wang posted an article online—first on the Chinese site

Douban.com and then on Zhihu.com—in early March 2018 outlining Xu’s sexual harassment and

assault of his female students and colleagues over the past two decades. 178



176
      Zhao, supra note 10, Attachment D.
177
   All information in this section comes from the Witness Statement of Ao Wang, supra note 9, or from interviews
with Ao Wang, unless otherwise noted.
178
      Ao Wang, supra note 9, Attachment A.


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                   In response, one woman using the name Survivor2018 told her harrowing story of

sexual assault by Xu. She wrote:

            Although I was an adult at that time, I was an unsophisticated student and too
            credulous in, extremely respectful towards and utterly unwary of Gary Gang Xu, a
            professor much older than me. I had never thought that such a highly respected
            professor in the eyes of others would suddenly impose a nearly malformed desire
            for dominance over his students, and it was even more difficult for me to imagine
            that Gary Gang Xu dared to escalate his deformed control desire to actual sexual
            harassments and sexual assaults. 179

                   Survivor2018 saw parallels between Xu’s assault of her and of Sun, who had also

related her experience online. She wrote:

            After reading [about Sun’s experience] carefully, I found that victim’s experience
            was really similar to mine. The trick was exactly the same: Gary Gang Xu first
            built an image as a gentleman and then approached the target as a teacher. After
            a period of observation, he identified the most suitable prey among the many
            young female students, and knew well about the weaknesses of the prey. Then, he
            waited for the opportunity to chase the student as a professor and sexually assault
            the student under the banner of love. Then, through “gaslight manipulation,” he
            rationalized his evil behavior and repeatedly brainwashed the female student. If
            the student did not obediently submit to him, what was waiting for the female
            student would be threats, cajolery, insults, and violence; and the next would be
            prolonged spiritual control, cheating, enticing into unlawful sexual intercourse,
            and even sexual abuse. As UIUC was one of the US universities with the largest
            number of Chinese students, Gary Gang Xu had a steady source of prey. 180

                   Many others soon wrote in support of Survivor2018 and to recount their own

experiences, even as Xu threatened his victims and former students to stay silent. 181 Another

individual, “Anonymous User,” wrote: “Last night, I . . . recalled too many vicious details which

were too sad to look back on. My emotions completely collapsed, and I was sleepless for almost




179
      Ao Wang, supra note 9, Attachment A.
180
      Id.
181
      Id.



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the whole evening.” 182 She continued, “Gary Gang Xu used his family to reduce the alertness of

the students. When brainwashing, he used his family as a shield. (“My wife is so virtuous, and my

two children are good-looking and excellent. My family is so perfect. If others knew you were a

third person, they would disdain and reject you, believing that you seduced me. How would you

get married?”). 183

                   Legal volunteers from Yale University volunteered to help the victims pursue

claims against Xu, but Xu intimated that he had access to the legal volunteers’ email address,

meaning he could access the victims’ identities, information, and experiences of abuse by him,

which deterred them from speaking up. 184 He further intimidated his victims by spying on their

group chats and then spreading screenshots from them online. 185 He posted photos of himself in

different cities where the victims resided, implying he knew where they were. 186 He directly

contacted some of the victims to make sure they stayed quiet. 187




182
      Ao Wang, supra note 9, Attachment A.
183
      Id.
184
   Interview notes, Xing Zhao. See also Ao Wang, supra note 9, Attachment A, “Anonymous User,” (“The victims
will mistakenly think that he can access the mailbox and that they will need to confront him. This would negate the
original promise of lawyers and volunteers: to protect the victims, and confront Gary Gang Xu only through the
legal channels. This sinister intention is really to kill two birds with one stone!”).
185
      Id.
186
      Id.
187
      Id.



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          c. Xu learns of Wang’s actions, and attempts to bully and threaten him into silence 188

                 Xu caught wind of the growing tide against him. He was furious with Wang for his

post. On March 10, Xu wrote a strongly worded message to Wang, copying his American attorney,

Rachel Funderburg, in which he denied the allegations in the post and demanded its withdrawal.

                 Later that day, Xu changed tactics, writing a careful letter to Wang, sent by email,

dated March 10, 2018. In this letter, he denied ever having sex with a student, or even being behind

closed doors with one. 189 He urged Wang to respect professional courtesy and take down the post.

                 When Wang did not do so, Xu stepped up his campaign. He began to spread false

rumors about Wang on WeChat, the Chinese messaging service, saying that Wang’s post was

nothing but a smear campaign because Xu had denied him admission to the UIUC graduate

program about 20 years ago. This was invented; Xu would have had little say over admission

decisions at that early stage in his career. Even if he had, Wang bore no grudge towards UIUC—

he had been accepted to and attended a much higher-ranking graduate program, and would not

have accepted an offer from UIUC. Nonetheless, Xu was trying to embarrass Wang and hurt his

reputation.

                 In addition to spreading false rumors, Xu and his friend Feng Wang, a gallery

owner, attempted to bully Wang into removing the post by soliciting Wang’s friends and business

acquaintances in a torrent of harassing chats and voicemails.




188
   All information in this section comes from the Witness Statement of Ao Wang, supra note 9, or from interviews
with Ao Wang, unless otherwise noted.
  But see Xingjian Sun, supra note 30; Zhao, supra note 10; Chang, supra note 117 (“He invited me into his office,
189

where he closed the door behind us.”).



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                     In particular, Feng Wang showed Er Zhang, Ao Wang’s friend and fellow poet, a

screenshot of a text exchange she had with Xu. In this text conversation, Xu directly threatened

Wang’s life, writing that he would “kill [Ao Wang] in one blow.” 190 Feng Wang had replied to

Xu, “Please hold on. I really mean it. Don’t turn yourself into an ‘executioner’ or you will regret

it one day.” 191

                     Zhang told Ao Wang about these exchanges shown to him by Feng Wang. Ao

Wang took Xu’s threat to “kill” him “in one blow” to be a death threat, as did Zhang. Ao Wang

was aware of the extreme violence of which Xu was capable. He had seen photos of the vicious

beating that Sun sustained and knew how Xu had slapped in public the young curatorial assistant,

Muqiao Sun, so hard he knocked her glasses off and left a bruise. He feared for the safety of his

family. He is still afraid.

                     In case the death threat did not work, Feng Wang attempted to use “logic” to

“prove” that Xu could not be a sexual predator. 192 In her chat with Zhang, Feng Wang wrote that

Xu must be guiltless, stating: “There will be absolutely no evidence of the so-called ‘sexual

assaults’ because there isn’t any. Xu is a Blood Type-A, discrete and restrained. Except for some

resentment toward a female Ph.D. who had rejected him several times a long time ago, or an affair

with a senior female classmate a long time ago, or an accidental striking of a bespectacled young

woman [at an art exhibition] after he had some drinks in 2013—I don’t think you can find any

dirt.” 193 Feng Wang pressured Zhang intensely on Xu’s behalf. From March 12 to March 14,



190
      Ao Wang, supra note 9, Attachment B.
191
      Id.
192
      Id.
193
      Id. paras. 15-17, citing Attachment B.


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2018, she sent him dozens of messages and left several voicemails—one over 20 minutes long,

another almost 18 minutes.

                   When Zhang turned out to be a dead end in terms of getting Ao Wang to repudiate

his post about Xu, Xu himself cornered Zhang Er’s coworker, Jiabin Song, and others attending a

business meeting in advance of the 2018 Shenzhen Biennale Art Exhibition, an art festival Xu was

meant to curate, 194 again urging the removal of the post.

                   With Ao Wang still undeterred, Xu grew increasingly desperate. He once again

used his intermediary, Feng Wang, to contact Ao Wang directly via WeChat. She said Xu now

wanted Ao Wang to tell the world that his posts about Xu’s sexual abuse of women had just been

an elaborate act of “performance art,” fabricated with Xu’s consent to demonstrate the power of

the internet to damage a “blameless” man’s reputation overnight. 195 If Wang agreed, Xu would

promote the “performance art” as part of the Shenzhen Biennale. Feng Wang even prepared a

flyer describing the project, with “Special Guest” Gary Xu and Ao Wang. The clear expectation

was that Ao Wang would be compensated for his part in creating this “art.” 196 Ao Wang refused

to accept the bribe, expressing outrage at even the idea of it, particularly given that Xu had been

making threats on his life. Feng Wang responded: “He is not threatening you, but he is going to

do so. I have been trying my best to stop him . . . . Do you understand? Once the arrow [is] sent

out it can never return.”




  In fact, the attention given to Xu’s sexual assaults online meant another person was chosen as curator. See
194

Shenzhen Biennale Fires Curator Gary Xu over Allegations of Sexual Harassment, supra note 7.
195
      Ao Wang, supra note 9, Attachment E.
196
      See Ao Wang, supra note 9, Attachment E.


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               When all of Xu’s efforts to silence Ao Wang failed, Xu sued him for defamation in

Shenzhen, China. That case is ongoing, costing Ao Wang legal fees and mental stress. Xu also

threatened legal action in the United States, but none has materialized.

               Around the time Xu sued Ao Wang in China, an anonymous defamatory email was

sent to Ao Wang’s employer, Wesleyan University in Connecticut, copying the President, Provost

and Dean. The anonymous email, purportedly from a group of Chinese students at the school,

claimed that Ao Wang’s work to support survivors of sexual violence and the #MeToo movement

had detracted from his teaching and demanded the university investigate him. The claims were

bogus; nearly 70 Chinese students at Wesleyan signed a letter refuting them. The timing of this

email was highly suspicious, causing Ao Wang to believe Xu might have been behind it.

               Xu’s relentless threats and attacks against Ao Wang have caused him substantial

reputational harm. Ao Wang is a well-known and deeply respected poet in China, with a sterling

reputation as a scholar and moral individual. His publishing income is dependent in large part on

the way that the public sees him. It was embarrassing for him to be portrayed as vindictive and

petty by Xu and his minions.

               Xu’s threats and attacks have also resulted in serious harm to Ao Wang’s health.

As a direct result of Xu’s threats against Ao Wang’s life, incessant attempts to turn his friends and

colleagues against him, and baseless attacks on his reputation, he suffered from intense anxiety

and was unable to sleep. The anxiety manifested itself so acutely that he began having chest pains

in late April 2018, and was treated for heart palpitations at the emergency room at Middlesex

Hospital. He was advised that the cardiac issues were due to anxiety. Ao Wang had not suffered

from anxiety or any cardiac issues prior to Xu’s threats.




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                                   CLAIMS FOR RELIEF

                                              COUNT I

                          SEX TRAFFICKING, 18 U.S.C. §§ 1591, 1595

                                           (Plaintiff Sun)

                Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

                The sex trafficking provisions of the TVPA, 18 U.S.C. § 1591(a), provide:

“Whoever knowingly—(1) in or affecting interstate commerce. . . recruits entices, harbors,

transports, provides, obtains, advertises, maintains, patronizes, or solicits by any means a person

. . . knowing, or, . . . in reckless disregard of the fact, that means of force, threats of force, fraud,

coercion . . . or any combination of such means will be used to cause the person to engage in a

commercial sex act . . . shall be punished . . . .”

                “Commercial sex act” is defined in the TVPA as “any sex act, on account of which

anything of value is given to or received by any person.” 18 U.S.C. § 1591(e)(3).

                Defendant engaged in a commercial sex act with Plaintiff Sun. He pressured her to

have sex with him in exchange for rent, good grades, and connections to esteemed professionals

in the art and film world. He was instrumental in causing Sun to come to the United States to

continue her education at UIUC when her visa status was in jeopardy, with the expectation that

she continue to have sex with Xu upon his demand. Sun knew that Xu’s acts were tied directly to

her sexual relationship with Xu. Her refusal to engage in sex with him would have hurt her grades,

future prospects, and ability to remain in the United States.

                Defendant actively engaged in interstate commerce with Plaintiff Sun for the

purpose of engaging in commercial sex. Xu made numerous payments to her through WeChat,

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shortly after engaging in commercial sex with her. Xu offered to pay her rent so that he could

continue to engage in commercial sex with her. Defendant paid for trips to Indiana and Chicago,

including the cost of gas. He brought Sun to China for the purpose of engaging in commercial sex

with her. Through his maneuvering, he allowed her to come back to the United States from China,

where she paid tuition to UIUC. His purpose in performing these acts was to engage in commercial

sex acts with Sun.

               Xu attempted to cause Sun to engage in commercial sex with a third woman, Yibing

Pu. In exchange for having a threesome, Xu offered to pay for Pu’s legal fees in an unrelated car

accident, and offered to give Sun and her friend a good grade in his class, as well as connections

to individuals in the art and film world.

               Xu attempted to cause Sun to engage in commercial sex with several of his artist

friends in Shanghai. He offered Sun’s body, without her consent, to these men in order to achieve

greater prominence in the art world and commercial gain in the form of art and opportunities.

               Defendant employed force in causing Plaintiff Sun to engage in commercial sex

acts with him. On several occasions, he violently raped her. On other occasions, he physically

beat her. While badly beaten, he raped her again. This caused Sun serious physical and emotional

harm, including ongoing post-traumatic stress disorder.

               Defendant employed coercion in causing Plaintiff Sun to engage in commercial sex

acts with him. Through his words and deeds, and against the backdrop of his previous physical

and sexual abuse of her, he caused Sun to believe that he could end her schooling prospects, her

future in the film industry, and her ability to remain in the United States if she did not consent to

all he required of her, including sexual services. Xu also threatened abuse of law in coercing Sun

into engaging in commercial sex acts. He told Sun that if she did not return from China to the


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United States to continue to engage in sexual acts with him, he would reinstate proceedings against

her stemming from the disorderly conduct charge she received in 2014. He made clear that if he

followed through on this threat, she would never be permitted to return to the country again. This

caused Sun serious psychological harm.

               Defendant also caused serious harm to Sun by causing her reputational harm,

including by posting to social media allegations that she was unstable, admitted to an asylum, and

otherwise untrustworthy. This behavior also caused serious harm to Sun’s family, in particular

her father, who was ashamed by what Xu had posted.

               Pursuant to 18 U.S.C. § 1595(a), which provides for the recovery of civil damages

for violations of 18 U.S.C. § 1591, Plaintiff Sun is entitled to recover damages, including punitive

damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.


                                            COUNT II

                          FORCED LABOR, 18 U.S.C. §§ 1589, 1595

                                         (Plaintiff Zhao)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               The forced labor provisions of TVPA, 18 U.S.C. § 1589, provide “(a) Whoever

knowingly provides or obtains the labor or services of a person by any one of, or by any

combination of, the following means (1) by means of force, threats of force, physical restraint, or

threats of physical restraint to that person or another person; (2) by means of serious harm or

threats of serious harm to that person or another person; (3) by means of the abuse or threatened

abuse of law or legal process; or (4) by means of any scheme, plan, or pattern intended to cause

the person to believe that if that person did not perform such labor or services, that person or

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another person would suffer serious harm or physical restraint shall be punished as provided under

subsection (d).”

               Defendant Xu knowingly obtained Plaintiff Zhao’s labor and services by requiring

her to perform work for his personal benefit for little or no compensation or other recognition. He

threatened serious harm and caused Zhao to believe that he intended to cause serious harm to her

if she refused to comply, including the threat of withholding admission and financial aid to the

EALC department at UIUC, and later the threat of expulsion from the program, in order to require

her to continue to perform this labor. Xu knew that expulsion from the program could result in

Zhao losing her F1 student visa status and being forced to leave the country.

               Xu further used the threat of physical force and actual physical confinement to

require her to do his bidding. By use of threats and intimidation, Zhao was compelled to perform

services for Xu without the compensation required by law, while Xu benefitted financially.

               As a result of Defendant’s conduct, Zhao has suffered damages in an amount to be

determined at trial.

               Pursuant to 18 U.S.C. § 1595(a), which provides for the recovery of civil damages

for violations of 18 U.S.C. § 1589, Zhao is entitled to recover damages, including punitive

damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.


                                           COUNT III

                          FORCED LABOR, 18 U.S.C. §§ 1589, 1595

                                         (Plaintiff Sun)


               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.


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                 The forced labor provisions of the TVPA, 18 U.S.C. § 1589, provide “(a) Whoever

knowingly provides or obtains the labor or services of a person by any one of, or by any

combination of, the following means (1) by means of force, threats of force, physical restraint, or

threats of physical restraint to that person or another person; (2) by means of serious harm or

threats of serious harm to that person or another person; (3) by means of the abuse or threatened

abuse of law or legal process; or (4) by means of any scheme, plan, or pattern intended to cause

the person to believe that if that person did not perform such labor or services, that person or

another person would suffer serious harm or physical restraint shall be punished as provided under

subsection (d).”

                 Defendant Xu knowingly obtained Plaintiff Sun’s sexual services by means of

force, threats of force, physical restraint, or threats of physical restraint. On several occasions, he

violently raped her. On other occasions, he physically beat her. While badly beaten, he raped her

again. His pattern of abuse caused Sun to fear that withholding sex from him would anger him,

causing him to rape or beat her again.

                 Defendant Xu obtained Sun’s sexual services through the threat of serious harm to

Sun and her family. He told her that if she did not do as he said, he would lambast her name to

other professors at UIUC, and spread rumors about her online—causing reputational harm to her

and her family. He told her, by word and deed, that if she did not engage in sexual services with

him, he would kick her out of the school and the country. When Sun fought back, he followed

through on many of these threats, causing her and her family reputational harm, including by

posting allegations to social media that she was unstable, admitted to an asylum, and otherwise

untrustworthy.




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               Defendant Xu obtained Sun’s sexual services by means of the abuse or threatened

abuse of law or legal process. He told Sun that if she did not return from China to the United

States to continue to engage in sexual acts with him, he would reinstate proceedings against her

stemming from the disorderly conduct charge she received in 2014. He made clear that if he

followed through on this threat, she would never be permitted to return to the country again.

               Defendant Xu obtained Sun’s sexual services by means of a scheme, plan, or pattern

intended to cause Sun to believe that if she did not perform sexual services, she would suffer

serious harm. Through his words and deeds, and against the backdrop of his previous physical

and sexual abuse of her, he caused Sun to believe that he could end her schooling prospects, her

future in the film industry, her reputation as a budding filmmaker, her father’s status and job

security in China, and her immigration status if she did not consent to all he required of her,

including sexual services.

               Pursuant to 18 U.S.C. § 1595(a), which provides for the recovery of civil damages

for violations of 18 U.S.C. § 1591, Plaintiff Sun is entitled to recover damages, including punitive

damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.


                                            COUNT IV

                 TRAFFICKING INTO SERVITUDE, 18 U.S.C. §§ 1590, 1595

                                     (Plaintiffs Zhao and Sun)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               The trafficking into servitude provision of the TVPA, 18 U.S.C. § 1590, provides

that recruiting, harboring, transporting, providing, or obtaining by any means any person for labor



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or services in violation of laws prohibiting, inter alia, forced labor shall subject the defendant to

punishment.

                As set forth above, Defendant knowingly recruited and transported Zhao from

Kansas to Illinois to provide labor and services to him in violation of laws prohibiting these actions.

Xu also knowingly transported Sun across state and international lines for the purpose of

commercial sex and sexual services.

                As a result of Defendant’s conduct, Zhao and Sun have suffered damages in an

amount to be determined at trial.

                The trafficking into servitude provisions of the TVPRA further provide that “if the

violation includes . . . aggravated sexual abuse, or the attempt to commit aggravated sexual abuse,”

additional punishments are warranted.

                Aggravated sexual abuse includes using force against another person to cause

another person to engage in a sexual act. 18 U.S.C. § 2241.

                Defendant facilitated Plaintiff Sun’s trip to China in the summer of 2014 for the

purpose of obtaining her sexual services. While there, Defendant used force to cause Sun to engage

in a sexual act against her will.

                Pursuant to 18 U.S.C. § 1595(a), which provides for the recovery of civil damages

for violations of 18 U.S.C. § 1590, Plaintiffs Zhao and Sun are entitled to recover damages,

including punitive damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.




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                                             COUNT V

                          GENDER VIOLENCE ACT, 740 ILCS § 82/5

                                     (Plaintiffs Sun and Zhao)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               The Gender Violence Act (GVA), 740 ILCS § 82/10, provides that “any person

who has been subjected to gender-related violence as defined in Section 5 may bring a civil action

for damages, injunctive relief, or other appropriate relief against a person or persons perpetrating

that gender-related violence.”

               Gender-related violence is defined in section 5 to include: an act or threat of

violence or physical aggression at least in part on the basis of a person’s sex; or an act or threat of

physical intrusion or invasion of a sexual nature under coercive conditions. 740 ILCS § 82/5.

               “Perpetrating” an act of gender-related violence means either personally

committing the violence, or “personally encouraging or assisting the act or acts of gender-related

violence.” 740 ILCS § 82/10.

               Defendant engaged in several acts of gender-related violence against Plaintiff Sun.

He brutally beat her on several occasions, including by pushing her down the stairs, shoving her

into walls, and beating her until bruised while she was unconscious from an attempted suicide. He

raped her on several occasions, including when she was unable to move or see due to his previous

beating of her, while she was stranded in China due to her impaired visa status. These actions

were based at least in part on Sun’s sex. These were acts of aggression to show his superior

strength over Sun, a woman, and his male dominance over her.


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               Defendant engaged in acts of gender-related violence against Plaintiff Zhao. He

punched another young curatorial assistant, Muqiao Sun, in Zhao’s direct presence. Zhao and the

assistant were the only two young women there in a room otherwise filled with men. This physical

beating served as a backdrop for all future interactions between Zhao and her professor. Just days

later, Xu cornered Zhao on a dark stairwell, moving in to kiss her against her will. It was only due

to Zhao’s position on the stairwell and Xu’s intoxicated state that she was able to escape. Xu knew

that Zhao was frightened of him after she witnessed him punching Muqiao Sun, but still repeatedly

confined her behind closed doors in his office, against school policy; confined her in his car against

her will; and otherwise physically cowed or constrained her. These actions were based on Zhao’s

sex, as is further seen in his concentrated debasement of Zhao and other women on the basis of

gender in and out of the classroom. These were acts of aggression to show his superior strength

over Zhao, a woman, and his male dominance over her.

               As a result of Defendant’s gender-related violence, Plaintiffs Sun and Zhao are

entitled to damages and other appropriate relief, including emotional distress, punitive damages,

and attorney’s fees and costs. 740 ILCS § 82/15.


                                            COUNT VI

  I NVOLUNTARY SERVITUDE, 720 ILCS § 5/10-9(b); 735 ILCS § 5/13-225; 740 ILCS §
                                 128/15

                                           (Plaintiff Sun)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               720 ILCS § 5/10-9(b) provides that “A person commits involuntary servitude when

he or she knowingly subjects, attempts to subject, or engages in a conspiracy to subject another


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person to labor or services obtained or maintained through any of the following means, or a

combination of these means: (1) causes or threatens to cause physical harm to any person; (2)

physically restrains or threatens to physically restrain another person; (3) abuses or threatens to

abuse the law or legal process; (4) knowingly destroys, conceals, removes, confiscates, or

possesses any actual or purported passport or other immigration document, or any other actual or

purported government identification document, of another person; (5) uses intimidation, or exerts

financial control over any person; or (6) uses any scheme, plan, or pattern intended to cause the

person to believe that, if the person did not perform the labor or services, that person or another

person would suffer serious harm or physical restraint.”

               “Services” is specifically defined to include commercial sexual activity, which is

defined as “any sex act on account of which anything of value is given, promised to, or received

by any person.” 720 ILCS §§ 5/10-9(a)(8), (2).

               Defendant subjected and attempted to subject Plaintiff Sun to commercial sexual

activity against her will. He pressured her to have sex with him in exchange for cash, rent, good

grades, and connections to esteemed professionals in the art and film world. He assisted her in

coming back to the United States from China, allowing her to continue her education at UIUC,

when her visa status was in jeopardy, with the expectation that she continue to have sex with Xu

upon his demand. Sun knew that Xu’s acts were tied directly to her sexual relationship with him.

Her refusal to engage in sex with him would have negatively affected her grades, her future

prospects, and her ability to remain in the United States on her student visa. His ability to control

her student status was seen in his maneuvering to keep her in China, and then to bring her back to

the United States from China. His purpose in performing these acts was to engage in sex with

Sun, and Sun felt compelled to do so.


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                 Xu attempted to cause Sun to engage in commercial sex with a third woman, Yibing

Pu. In exchange for having a threesome, Xu offered to pay for Pu’s legal fees in an unrelated car

accident, and offered to give Sun and her friend a good grade in his class, as well as connections

to individuals in the art and film world.

                 Defendant physically harmed Plaintiff Sun. On several occasions, he violently

raped her. On other occasions, he physically beat her. When badly beaten, he raped her again.

Knowing his violent tendencies, she was afraid to say no to him when he demanded commercial

sex. She believed that her refusal would result in more physical harm to her. His rapes and

physical beatings caused Sun serious physical and emotional harm, including in the form of

ongoing post-traumatic stress disorder.

                 Defendant Xu obtained commercial sex from Sun by means of the abuse or

threatened abuse of law or legal process. He told Sun that if she did not return from China to the

United States to continue to engage in commercial sex acts with him, he would reinstate

proceedings against her stemming from the disorderly conduct charge she received in 2014. He

made clear that if he followed through on this threat, she would never be permitted to return to the

country again.

                 Defendant employed intimidation and coercion in causing Plaintiff Sun to engage

in commercial sex acts with him. Through his words and deeds, he caused Sun to believe that she

would suffer serious harm because he could end her schooling prospects, her future in the film

industry, and her immigration status if she did not consent to all he required of her, including

commercial sexual activity. This caused Sun serious psychological harm.

                 Defendant also caused serious harm to Sun by causing her reputational harm,

including by posting to social media allegations that she was unstable, admitted to an asylum, and


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otherwise untrustworthy. This behavior also caused serious harm to Sun’s family, in particular

her father, who was ashamed by what Xu had posted.

               Pursuant to 740 ILCS §§ 128/15 and 128/20, which provides for the recovery of

civil damages for violations of 720 ILCS § 5/10-9, Zhao is entitled to recover damages, including

punitive damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.


                                           COUNT VII

INVOLUNARY SERVITUDE, 720 ILCS § 5/10-9(b); 735 ILCS § 5/13-225; 740 ILCS § 128/15

                                         (Plaintiff Zhao)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               720 ILCS § 5/10-9(b) provides that “A person commits involuntary servitude when

he or she knowingly subjects, attempts to subject, or engages in a conspiracy to subject another

person to labor or services obtained or maintained through any of the following means, or a

combination of these means: (1) causes or threatens to cause physical harm to any person; (2)

physically restrains or threatens to physically restrain another person; (3) abuses or threatens to

abuse the law or legal process; (4) knowingly destroys, conceals, removes, confiscates, or

possesses any actual or purported passport or other immigration document, or any other actual or

purported government identification document, of another person; (5) uses intimidation, or exerts

financial control over any person; or (6) uses any scheme, plan, or pattern intended to cause the

person to believe that, if the person did not perform the labor or services, that person or another

person would suffer serious harm or physical restraint.”




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               From at least August 2012 through March 2015, plaintiff Zhao was required to

perform labor or services for Defendant. Xu knowingly obtained Zhao’s labor and services by

requiring her to perform work for his personal benefit for little or no compensation or other

recognition, while he benefitted commercially.       He intimidated her by using the threat of

withholding admission and financial aid to the EALC department at UIUC, and later the threat of

expulsion from the program, in order to require her to continue to perform this labor. Xu knew

that expulsion from the program could result in Zhao suffering serious harm, including losing her

F1 student visa status and being forced to leave the country. He further used the threat of physical

force to require her to do his bidding. By use of threats and intimidation, Zhao was compelled to

perform services for Xu without the compensation required by law.

               As a result of Defendant’s conduct, Zhao has suffered damages in an amount to be

determined at trial.

               Pursuant to 740 ILCS §§ 128/15 and 128/20, which provides for the recovery of

civil damages for violations of 720 ILCS § 5/10-9, Zhao is entitled to recover damages, including

punitive damages, and reasonable attorney’s fees for Defendant’s wrongful conduct.


                                           COUNT VIII

          TRAFFICKING IN PERSONS, 720 ILCS § 5/10-9(d) and 740 ILCS § 128/15

                                     (Plaintiffs Zhao and Sun)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               720 ILCS §5/10-9(d) provides: “A person commits trafficking in persons when he

or she knowingly: (1) recruits, harbors, transports, provides, or obtains by any means, or attempts



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to recruit, entice, harbor, transport, provide, or obtain by any means, another person, intending or

knowing that the person will be subjected to involuntary servitude; or (2) benefits, financially or

by receiving anything of value, from participation in a venture that has engaged in an act of

involuntary servitude or involuntary sexual servitude of a minor.”

               As set forth above, Defendant knowingly recruited and transported Zhao from

Kansas to Illinois to provide labor and services to him in violation of laws prohibiting these actions.

Xu also knowingly transported Sun across state and international lines for the purpose of

commercial sex.

               Pursuant to 740 ILCS §§ 128/15 and 128/20, which provides for the recovery of

civil damages for violations of 720 ILCS § 5/10-9, Zhao is entitled to recover damages, including

punitive damages, and reasonable attorney’s fees for Defendant’s wrongful conduct, at an amount

to be determined at trial.


                                             COUNT IX

                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                          (Plaintiff Wang)

               Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.

               The elements of intentional infliction of emotional distress are that: (1) the

defendant engaged in “extreme and outrageous” conduct toward the plaintiff; (2) the defendant

intended or recklessly disregarded the probability that the conduct would cause the plaintiff to

suffer emotional distress; (3) the plaintiff endured “severe or extreme” emotional distress; and (4)

the defendant’s conduct actually and proximately caused the plaintiff’s distress.



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                  Xu engaged in extreme and outrageous conduct toward Wang with his systematic

campaign of threatening and bullying him into dropping his truthful claims against Xu. He,

individually and through his agents, issued a death threat against Wang. Wang, well aware of Xu’s

violent tendencies, was terrified for the safety of his family. Xu tarnished Wang’s reputation by

undermining his academic accomplishments and harassing his colleagues and contemporaries. He

attempted to bribe him into dropping his allegations in exchange for lucrative compensation at an

upcoming art festival. When Wang still refused, he instituted a baseless and extended lawsuit

against him, at great personal and emotional cost to Wang and his family.

                  Xu engaged in this behavior knowingly, with the clear intent of causing Wang great

emotional distress so that he would retract his true claims regarding Xu’s sexual assaults of young

women.

                  As the direct and proximate result of Xu’s behavior, Wang endured severe

emotional distress. The stress he experienced was so great that it manifested itself in physical

symptoms, with Wang admitting himself to the hospital with chest pain, out of fear he was having

a heart attack.

                  As a result of Xu’s tortious conduct, Wang is entitled to damages in an amount to

be determined at trial.


                                              COUNT X

                     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

                                           (Plaintiff Wang)

                  Plaintiffs reallege and incorporate, as though fully stated herein, the allegations

contained in the above paragraphs.



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                    The elements of negligent infliction of emotional distress are that: (1) the defendant

owed a duty to the plaintiff; (2) defendant breached that duty; and (3) that breach caused damages

to the plaintiff.

                    Xu owed Wang an ordinary duty of care to guard against injuries which flow as a

reasonably probable and foreseeable consequence of an act.

                    Xu breached this duty with his extreme and outrageous behavior as outlined above,

including by issuing death threats, attempting to bribe him, bringing a baseless lawsuit, and

threatening his reputation and standing in the community.

                    This breach caused damages to Wang, including in the form of physical and

emotional harm, medical bills and reputational harm.

                    As a result of Xu’s tortious conduct, Wang is entitled to damages in an amount to

be determined at trial.




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                               PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray that this Court enter judgment against Defendant,
awarding Plaintiffs relief as follows:

        1.   General, compensatory and special damages in an amount to be proven at trial;

        2.   Unpaid wages in an amount to be proven at trial;

        3.   Punitive and exemplary damages;

        4.   Pre- and post-judgment interest;

        5.   Reasonable attorney’s fees and costs; and

        6.   Such other and further relief as the Court deems just and proper.


Dated: September 10, 2019

                                                  Respectfully submitted,

                                                  s/Dr. Ann Olivarius

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